         Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 1 of 93




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In Re:                                               §
                                                     §   Case No.: 20-30967
WATSON GRINDING &                                    §
MANUFACTURING CO.                                    §   CHAPTER 11
                                                     §
         Debtor.                                     §

                                   NOTICE OF SUBPOENAS

         Please take notice that pursuant to Federal Rule of Civil Procedure 45(a)(4), the Official

Committee of January 24 Claimants in the above-referenced case, intends to serve the Subpoenas

to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a

Bankruptcy Case (or Adversary Proceeding) attached hereto as Exhibits “A” – “D” on (i)

Matheson Tri-Gas, Inc., (ii) Western International Gas & Cylinder, Inc., (iii) Detcon, Inc., and

(iv) 3M Company (collectively, the “Parties”). Service of the Subpoenas will take place on

March 6, 2020, or as soon thereafter as service may be effectuated. The Parties are required to

produce the documents requested pursuant to the Subpoenas by March 27, 2020 at the offices of

Porter Hedges LLP, 1000 Main Street, 36th Floor, Houston, Texas 77002, Attention: Aaron J.

Power.



                            [Remainder of page intentionally left blank]




10479088v1
        Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 2 of 93




Dated: March 6, 2020.
                                             Respectfully submitted,

                                             PORTER HEDGES LLP

                                             /s/ Aaron J. Power
                                             Joshua W. Wolfshohl
                                             Aaron J. Power
                                             1000 Main Street, 36th Floor
                                             Houston, Texas 77002
                                             (713) 226-6000
                                             (713) 226-6248 (fax)
                                             jwolfshohl@porterhedges.com
                                             apower@porterhedges.com

                                             PROPOSED COUNSEL FOR THE OFFICIAL
                                             COMMITTEE OF JANUARY 24 CLAIMANTS



                                CERTIFICATE OF SERVICE

       This will certify that on March 6, 2020, a true and correct copy of the foregoing Notice
was served via electronic transmission to all registered ECF users appearing in the case.

                                             /s/ Aaron J. Power
                                             Aaron J. Power




                                                2
10479088v1
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 3 of 93



                                           UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION


In Re:                                                                        §
                                                                              §      Case No.: 20-30967
WATSON GRINDING &                                                             §
MANUFACTURING CO.                                                             §      CHAPTER 11
                                                                              §
           Debtor.                                                            §

       SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
 OR TO PERMIT INSPECTION OF PREMISES IN BANKRUPTCY CASE(OR ADVERSARY
                              PROCEEDING)

To:        Matheson Tri-Gas, Inc., by and through its counsel of record, Greenberg Traurig, LLP,
           Attn: Karl D. Burrer, 1000 Louisiana St., Suite 1700, Houston, Texas 77002,
           burrcrk@irthnv.coni.

                                                 (Name ofperson to whom this subpoena is directed)

        [X) Production'. YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling ofthe material:
Documents in Exhibit “I” attached.


 Place:                                                                           Date and Time:
         Aaron J. Power, Poiter Pledges LLP
         1000 Main St., 36th FI., Houston, TX 77002
                                                                                  March 27,2020 at 5:00 p.m.

           □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
propeity possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                           Date and Time:




           The following provisions of Fed. R, Civ. P. 45, made applicable in bankmplcy cases by Fed. R. Bankr, P. 9016, are altachcd - Rule 45(c), relating
to the place of compliance; Rule 45{d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond
to this subpoena and the potential consequences of not doing so.                                            A

Date:         March 6. 2020


                              CLERK OF COURT

                                                                                            OR
                                       Signature of Clerk or Deputy Clerk                                            Allorney's signature



The name, address, e-mail address, and telephone number of the attorney representing the Official Committee of the January
24 Claimants who issues or requests this subpoena, is; Aaron J. Power, Porter Hedges LLP, 1000 Main St. 36"' FI., Houston,
Texas 77002, anowerCanorierhedt’es.com, 713-226-6000.

                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed.K.Civ.P. 45(a)(4),


                                                              EXHIBIT A
                 Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 4 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)




                                             PROOF OF SERVICE
             (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I    received  this   subpoena for                                              (name         of        individual         and         title,     if     any)
______________________________________
on (date) _____________________.

            ☐I  served the subpoena by delivering a copy to the named person as follows:
            ______________________
            ______________________________________________________________________________
            ______ ____________________________ on (date) ________________________; or

            ☐I         returned       the        subpoena        unexecuted        because:
            ______________________________________________
            ______________________________________________________________________________
            .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
            have also tendered to the witness the fees for one day’s attendance, and the mileage allowed by
            law, in the amount of $_______________________.

My fees are $______________ for travel and $______________                                                   for       services,          for       a     total    of
$____________.



            I declare under penalty of perjury that this information is true.

                                                                        Date: _________________
                                                                                     Server’s signature
                                                                                           ______________________________
                                                                                     Printed name and title
                                                                                           ______________________________
                                                                                     Server’s address



Additional information regarding attempted service, etc.:
                 Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 5 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                      Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)


(c) Place of Compliance.                                                                procedures apply to producing documents or electronically stored
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person                information:
to attend a trial, hearing, or deposition only as follows:                              (A) Documents. A person responding to a subpoena to produce documents
(A) within 100 miles of where the person resides, is employed, or regularly             must produce them as they are kept in the ordinary course of business or
transacts business in person; or                                                        must organize and label them to correspond to the categories in the demand.
(B) within the state where the person resides, is employed, or regularly                (B) Form for Producing Electronically Stored Information Not Specified. If
transacts business in person, if the person                                             a subpoena does not specify a form for producing electronically stored
(i) is a party of a party's officer; or                                                 information, the person responding must produce it in a form or forms in
(ii) is commanded to attend a trial and would not incur substantial expense.            which it is ordinarily maintained or in a reasonably usable form or forms.
(2) For Other Discovery. A subpoena may command:                                        (C) Electronically Stored Information Produced in Only One Form. The
(A) production of documents, electronically stored information, or tangible             person responding need not produce the same electronically stored
things at a place within 100 miles of where the person resides, is employed,            information in more than one form.
or regularly transacts business in person; and                                          (D) Inaccessible Electronically Stored Information. The person responding
(B) inspection of premises at the premises to be inspected.                             need not provide discovery of electronically stored information from sources
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             that the person identifies as not reasonably accessible because of undue
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    burden or cost. On motion to compel discovery or for a protective order, the
responsible for issuing and serving a subpoena must take reasonable steps to            person responding must show that the information is not reasonably
avoid imposing undue burden or expense on a person subject to the                       accessible because of undue burden or cost. If that showing is made, the court
subpoena. The court for the district where compliance is required must                  may nonetheless order discovery from such sources if the requesting party
enforce this duty and impose an appropriate sanction—which may include                  shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
lost earnings and reasonable attorney's fees—on a party or attorney who fails           may specify conditions for the discovery.
to comply.                                                                              (2) Claiming Privilege or Protection.
(2) Command to Produce Materials or Permit Inspection.                                  (A) Information Withheld. A person withholding subpoenaed information
(A) Appearance Not Required. A person commanded to produce documents,                   under a claim that it is privileged or subject to protection as trial-preparation
electronically stored information, or tangible things, or to permit the                 material must:
inspection of premises, need not appear in person at the place of production            (i) expressly make the claim; and
or inspection unless also commanded to appear for a deposition, hearing, or             (ii) describe the nature of the withheld documents, communications, or
trial.                                                                                  tangible things in a manner that, without revealing information itself
(B) Objections. A person commanded to produce documents or tangible                     privileged or protected, will enable the parties to assess the claim.
things or to permit inspection may serve on the party or attorney designated            (B) Information Produced. If information produced in response to a
in the subpoena a written objection to inspecting, copying, testing or                  subpoena is subject to a claim of privilege or of protection as trial-
sampling any or all of the materials or to inspecting the premises—or to                preparation material, the person making the claim may notify any party that
producing electronically stored information in the form or forms requested.             received the information of the claim and the basis for it. After being notified,
The objection must be served before the earlier of the time specified for               a party must promptly return, sequester, or destroy the specified information
compliance or 14 days after the subpoena is served. If an objection is made,            and any copies it has; must not use or disclose the information until the claim
the following rules apply:                                                              is resolved; must take reasonable steps to retrieve the information if the party
(i) At any time, on notice to the commanded person, the serving party may               disclosed it before being notified; and may promptly present the information
move the court for the district where compliance is required for an order               under seal to the court for the district where compliance is required for a
compelling production or inspection.                                                    determination of the claim. The person who produced the information must
(ii) These acts may be required only as directed in the order, and the order            preserve the information until the claim is resolved.
must protect a person who is neither a party nor a party's officer from                  (g) Contempt.
significant expense resulting from compliance.                                          The court for the district where compliance is required—and also, after a
(3) Quashing or Modifying a Subpoena.                                                   motion is transferred, the issuing court—may hold in contempt a person who,
(A) When Required. On timely motion, the court for the district where                   having been served, fails without adequate excuse to obey the subpoena or
compliance is required must quash or modify a subpoena that:                            an order related to it.
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in
Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden.
(B) When Permitted. To protect a person subject to or affected by a subpoena,
the court for the district where compliance is required may, on motion, quash
or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research, development, or
commercial information; or
(ii) disclosing an unretained expert's opinion or information that does not
describe specific occurrences in dispute and results from the expert's study
that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances described
in Rule 45(d)(3)(B), the court may, instead of quashing or modifying a
subpoena, order appearance or production under specified conditions if the
serving party:
(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.
(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 6 of 93




                 For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                         4
10471827v1
        Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 7 of 93




                 UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
In Re:                           §
                                 §    Case No.: 20-30967
WATSON GRINDING &                §
MANUFACTURING CO.                §    CHAPTER 11
                                 §
         Debtor.                 §

                    REQUEST FOR PRODUCTION OF DOCUMENTS
                      PURSUANT TO BANKRUPTCY RULE 2004

To:     Matheson Tri-Gas, Inc., by and through its counsel of record, Greenberg Traurig,
        LLP, Attn: Karl D. Burrer, 1000 Louisiana St., Suite 1700, Houston, Texas 77002,
        burrerk@gtlaw.com.

        Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure, the

Official Committee of January 24 Claimants (the “Committee”) files and serves this Request for

Production of Documents on Matheson Tri-Gas, Inc. (“Matheson”). Matheson is instructed to

produce for inspection and copying the documents set forth in the attached as Exhibit 1 by no later

than March 27, 2020, at 5:00 p.m. at Porter Hedges LLP, Attn: Joshua W. Wolfshohl, 1000 Main

Street, 36th Floor, Houston, Texas 77002-6341 (or at such other date and time as agreed to by the

parties).




                                                5
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 8 of 93




       Dated: March 6, 2020.
                                            Respectfully submitted,
                                            PORTER HEDGES LLP
                                            /s/ Joshua W. Wolfshohl
                                            Joshua W. Wolfshohl
                                            Aaron J. Power
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
                                            (713) 226-6000
                                            (713) 226-6248 (fax)
                                            jwolfshohl@porterhedges.com
                                            apower@porterhedges.com
                                            PROPOSED COUNSEL FOR THE OFFICIAL
                                            COMMITTEE OF JANUARY 24 CLAIMANTS


                               CERTIFICATE OF SERVICE

       This is to certify that on March 6, 2020, a true and correct copy of the foregoing Request
for Production of Documents Pursuant to Bankruptcy Rule 2004 was served via United States
mail, postage prepaid or by electronic transmission to the below parties.

Mary-Olga Lovett
Karl D. Burrer
Paul B. Kerlin
GREENBERG TRAURIG, LLP
1000 Louisiana St., Suite 1700
Houston, Texas 77002
Telephone: (713) 374-3500
Facsimile: (713) 374-3505
Email: BurrerK@gtlaw.com

Christopher M. LaVigne
GREENBERG TRAURIG, LLP
2200 Ross Ave., Suite 5200
Dallas, Texas 75201
Telephone: (214) 665-3600
Facsimile: (214) 665-3601
Email: LaVigneC@gtlaw.com

                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




                                               6
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 9 of 93




                                           EXHIBIT 1

                            INSTRUCTIONS AND DEFINITIONS

       1.      These document requests apply to all documents in your possession, custody or

control regardless of their location, and regardless of whether such documents are held by your

representatives, agents, attorneys, advisors, accountants, family members, or any other person.

In searching for any documents responsive to these requests, you should also search all devices

or media capable of containing electronic or magnetic data including, without limitation, hard

drives of all computers used by any person with knowledge of the facts relevant to this dispute,

network servers, back-up and archival storage systems, home computers, laptop computers,

voice mail systems, floppy disks, removable data cartridges, and any cell phones.

       2.      If any copy of any document whose production is sought is not identical to any

other copy thereof, by reason of any alterations, different form (e.g., electronic form), metadata

or metatags, marginal notes, comments or other material contained thereon, attached thereto,

or otherwise, all such non-identical copies shall be produced separately. Such other copies

include, without limitation, all revisions in electronic or magnetic format.

       3.      All Documents. All documents produced must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

number (e.g., ABC000001). This format must remain consistent across all production numbers.

The number of digits in the numeric portion of the format should not change in subsequent

productions, nor should spaces, hyphens, or other separators be added or deleted. Any document

that contains essential color should be produced in color. “Essential color” is defined as color that

is essential to the understanding of the document, such as the color in charts, maps, graphs, and

photographs.



                                                 7
10471827v1
         Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 10 of 93




         4.    Hard Copy Documents. For documents that only exist in hard copy and not

electronic form, please produce those documents as Group IV compressed single-page TIFF or

JPEG images named by Bates number. Provide standard LFP and OPT image load files with an

image key containing the same image names/Bates numbers as the corresponding images. All

TIFF/JPEG images must be branded and named with a unique, consistently formatted identifier

with an alpha prefix along with a fixed length Bates number (e.g., ABC000001). The LFP and

OPT load files should accurately reflect logical document breaks. OCR should be provided as

document level text files with an LST load file or as a linked path in a delimited text file (a .DAT

file).

         5.    Fielded data for hard copy documents should be provided in a delimited text file

with the following delimiters:

    Field separator = | (ASCII character 124) or , (ASCII character 020)
    Quote character = þ (ASCII character 254)
    Multi-entry delimiter = ; (ASCII character 059)
    Return value in data = ~ (ASCII character 126)
The fielded data should include but not be limited to the following:

        Beg Doc
        End Doc
        Beg Attach
        End Attach
        Page Count
        Custodian
        Location
        Production Volume

         6.    Electronic Documents. Please produce email, attachments, and loose native files as

Group IV compressed single-page TIFF or JPEG images named by Bates number. Provide

standard LFP and OPT image load files with an image key containing the same image names/Bates

numbers as the corresponding images. All TIFF/JPEG images must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

                                                 8
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 11 of 93




number (e.g., ABC0000001). Extracted text or OCR should be provided as document level text

files with an LST load file or as a linked path in a delimited text file (a .DAT file).

       7.      Additionally, Excel files, spreadsheets, database files, audio files, video files,

AutoCAD drawings, or any non-printable or unsupported file types should be produced in their

native format with a linked path in the .DAT file. A placeholder image with basic identifying

information (File Name and Bates number) should be provided. If counsel requests native files of

other specific documents, opposing counsel will comply as long as the request is not overly

burdensome or frivolous.

       8.      Metadata for the emails and attachments should be provided in a delimited text file

with the following delimiters:

      Field separator = | (ASCII character 124) or , (ASCII character 020)
      Quote character = þ (ASCII character 254)
      Multi-entry delimiter = ; (ASCII character 059)
      Return value in data = ~ (ASCII character 126)

       The metadata fields should include but not be limited to the following:

      Beg Doc
      End Doc
      Beg Attach
      End Attach
      Page Count
      Production Volume
      Media Type (i.e., Email, Attachment, Attached Email, Loose Edoc, Attached Edoc)
      Family Date (MM/DD/YYYY)
      Family Time (MM/DD/YYYY hh:mm:ss)
      Date Sent (MM/DD/YYYY)
      Time Sent (MM/DD/YYYY hh:mm:ss)
      Date Received (MM/DD/YYYY)
      Time Received (MM/DD/YYYY hh:mm:ss)
      Date Created (MM/DD/YYYY)
      Time Created (MM/DD/YYYY hh:mm:ss)
      Date Last Modified (MM/DD/YYYY)
      Time Last Modified (MM/DD/YYYY hh:mm:ss)
      Date Last Accessed (MM/DD/YYYY)

                                                  9
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 12 of 93




      Time Last Accessed (MM/DD/YYYY hh:mm:ss)
      Author
      From
      To
      CC
      BCC
      Subject
      MsgID
      MD5Hash
      SHA1Hash
      File Size
      File Extension
      File Type
      File Name
      Original Folder or Pathway
      Application
      Attachment Count
      Attachment Titles
      Doc Title
      File/Doc Type (if different from Media)
      Custodian
      Confidential Designation
      Native Path

       9.      In the event the volume of loose natives becomes excessively large and thereby

exceedingly costly to process, counsel will notify opposing counsel and the parties will consider

alternatives to a tiff/jpeg production.

       10.     Production Media. Please provide all production deliverables on external USB

drives or via FTP link.

       11.     The Requests for Production specifically request electronically stored

information and all meta-data associated with said electronically stored information.

       12.     In producing documents, all documents which are physically attached to each

other in your files shall be left so attached. Documents shall be produced in the order in which

they were maintained.




                                               10
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 13 of 93




       13.     For each document that you claim is privileged or otherwise not discoverable,

provide a privilege log.

       14.     If no responsive documents exist for a particular response, please so indicate by

stating “none.”

       15.    For each Request for Production, please identify which bates-labeled documents
are responsive.

                                         DEFINITIONS

       1.      The terms “all,” “each” and “any” shall be construed to mean all, each, every, and

any.

       2.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       3.      The term “Debtor” means Watson Grinding & Manufacturing Co.

       4.      The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of this term in Federal Rule of Civil Procedure 34(a), made applicable to this

proceeding by Rules 7034 and 9014 of the Federal Rules of Bankruptcy Procedure, including,

without limitation, electronic or computerized data compilations. A draft or non-identical copy is

a separate Document within the meaning of this term.

       5.      The term “including” means including but not limited to.

       6.      The terms “regarding”, “related to”, “relate to”, “relating to”, “referred to”, “refer

to”, and “referring to” mean having any relationship or connection to, concerning, being connected

to, commenting on, responding to, containing, constituting, showing, memorializing, describing,

analyzing, reflecting, pertaining to, compromising, identifying, discussing, evidencing, or

otherwise establishing a reasonable, logical, or causal connection.


                                                11
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 14 of 93




       7.     The term “You” or “Your” means Matheson, its affiliates, subsidiaries, officers,

managers, employees, or agents, or any person or entity authorized to act on behalf of Matheson.

       8.     “Watson Grinding” means the Debtor.




                                               12
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 15 of 93




                            LIST OF REQUESTED DOCUMENTS

1.       Please produce all documents related to any and all federal, state, and local laws and
ordinances which are applicable to the business operations and processes at Watson Grinding
facilities located at 4525 Gessner Rd., Houston, Texas and Matheson Tri-Gas, Inc. interaction with
the same.

2.      Please produce all documents related to any and all industry standards which are applicable
to the business operations and processes at Watson Grinding facilities located at 4525 Gessner Rd.,
Houston, Texas and Matheson Tri-Gas, Inc. interaction with the same.

3.       Please produce all documents related to any and all state, local, and county laws and
ordinances which are applicable to the construction, installation, and design of Watson Grinding
facilities located at 4525 Gessner Rd., Houston, Texas and Matheson Tri-Gas, Inc. interaction with
the same.

4.     Please produce all documents related to any and all state, local, and county laws and
ordinances which were reviewed, consulted, and adhered to in the construction, installation, and
design of Watson Grinding facilities located at 4525 Gessner Rd., Houston, Texas and Matheson
Tri-Gas, Inc. interaction with the same.

5.      Please produce all documents related to any and all written operational policies and
procedures, written and digital training materials, and written and digital training records for any
and all operations, production activities, processes, or functional tasks that occur at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas and Matheson Tri-Gas, Inc.
interaction with the same.

6.      Please produce all documents related to any and all written safety policies and procedures
for any and all operations, production activities, processes, or functional tasks that occur at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas, and any and all written and digital
training materials and records for such policies and procedures, and Matheson Tri-Gas, Inc.
interaction with the same.

7.    Please produce all documents related to the construction, installation, and design of any
equipment located at 4525 Gessner Rd., Houston, Texas by Matheson Tri-Gas, Inc.

8.     Please provide a copy of any and all contracts and master service agreements between
Matheson Tri-Gas, Inc. and Watson Grinding for delivery of propylene that were in effect on
January 24, 2020 and since January 2010.

9.     Please provide a copy of all invoices for delivery of propylene to Watson Grinding from
January 2010 through January 24, 2020.

10.     Please produce all correspondence with the manufacturer of the propylene that was
delivered to Watson Grinding from January 2010 through January 24, 2020.



                                                 13
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 16 of 93




11.    Please provide a copy of all invoices for delivery of flammable chemicals to Watson
Grinding from January 2010 through January 24, 2020.

12.    Please provide a copy of any and all contracts and master service agreements between
Matheson Tri-Gas, Inc. and Watson Grinding for monitoring and detection of the propylene
storage tank, including but not limited to, usage rates, mechanical integrity of propylene piping
system, leak detection and monitoring, and emergency services that were in effect on 24 January
2020.

13.    Please provide documentation of any and all services rendered to Watson Grinding from
January 2010 through January 24, 2020, including but not limited to, supply of propylene, supply
of flammable gases, supply of flammable liquids, monitoring and detection of flammable storage,
and mechanical integrity of flammable storage piping systems.

14.    Please provide any and all documentation pertaining to the flammable chemicals supplied
to Watson Grinding, including but not limited to chemical composition (liquid vs. gas), storage
temperature, storage pressure, vaporization of liquid flammable chemicals, and odorization of
flammable chemicals.

15.    Please provide a copy of any and all documentation outlining monitoring and detection
components and systems installed at Watson Grinding that were under the operation and control
of Matheson Tri-Gas, Inc. from January 2010 through January 24, 2020 for the detection and/or
automatic shutoff of flammable gases.

16.    Please provide a copy of the monitoring and detection procedures utilized by Matheson
Tri-Gas, Inc. for surveillance of the flammable gas storage and usage at Watson Grinding.

17.     Please provide any and all documentation for software utilized for monitoring and
detection components and systems installed at Watson Grinding that were under the operation and
control of Matheson Tri-Gas, Inc. from January 2010 through January 24, 2020 for the detection
and/or automatic shutoff of flammable gases including, but not limited to, software name, version
number, and vendor and user manuals.

18.    Please provide a copy of any and all inspection, maintenance, and repair records related to
the propylene systems and all other storage tanks and piping systems in use or present at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas and West International & Gas
Cylinders, Inc. interaction with the same.

19.    Please produce all documents related to equipment parts and components provided by
Matheson Tri-Gas, Inc. to Watson Grinding and Manufacturing Co. that were on site on January
24, 2020.

20.    Please produce all documents related to equipment parts and components replaced or
repaired by Matheson Tri-Gas, Inc. from January 2010 through January 24, 2020 when the
explosion occurred at Watson Grinding and Manufacturing Co.



                                               14
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 17 of 93




21.    Please produce all documented related to any other supplies or equipment related to the
propylene system provided by Matheson Tri-Gas,. to Watson Grinding and Manufacturing Co.

22.   Please produce all documents related to the corporate organizational structure of the
company.


23.     Please produce all documents related to the safety policies and procedures of the company
in regard to propylene.




24.     Please produce all documents related to the company’s compliance with federal and state
regulations regarding the delivery of propylene.

25.     Please produce all documents related to the duties and responsibilities of employees
delivering propylene.

26.     Please produce all documents related to the company’s own investigation and analysis of
the hostile explosion incident.

27.    Please produce all documents related to all industry or professional organizations in which
the company maintains a membership.

28.   Please produce all documents related to all industry or professional organizations in which
any company employee serves as a member of.

29.    Please produce all documents related to any and all laws, regulations, codes and standards
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

30.    Please produce all documents related to any and all industry codes and standards
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

31.    Please produce all documents related to any and all standards of good care and good
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

32.    Please produce all documents related to any and all local laws that Matheson Tri-Gas, Inc.
recognizes are applicable to their delivery of propylene.

33.    Please produce all documents related to all state laws that the Matheson Tri-Gas, Inc.
recognizes are applicable to their delivery of propylene.


                                               15
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 18 of 93




34.    Please produce all documents related to any and all federal laws that the Matheson Tri-
Gas, Inc. recognizes are applicable to their delivery of propylene.

35.   Please produce all documents related to any and all industry codes and standards that the
Matheson Tri-Gas, Inc. recognizes are applicable to their delivery of propylene.

36.    Please produce all documents related to any and all company policy and procedures that
the Matheson Tri-Gas, Inc. recognizes are applicable to their delivery of propylene.

37.    Please produce all documents related to the make, model and serial number of any and all
air monitoring and/or combustible gas detection equipment that was available to the company
employee while delivering propylene.

38.    Please produce all documents related to the most recent certification/calibration
documentation for any such air monitoring and/or combustible gas detection equipment identified
above.

39.   Please produce all documents related to the immediate supervisor of the company
employee who most recently delivered propylene to the involved facility.

40.   Please produce all documents related to the immediate supervisor’s supervisor of the
company employee who most recently delivered propylene to the involved facility.
41.   Please provide any and all documents and/or other media which represent the defendant’s
company policies and procedures related to propylene.

42.    Please provide complete employment file of the company employees who have delivered
propylene to the involved facility since January 2010.

43.    Please provide any and all documents and/or other media which document any training
received by the company employees who have delivered propylene to the involved facility since
January 2010.

44.     Please provide any and all documents and/or other media in the company’s possession
relative to the delivery of propylene to the involved facility from January 2010 through January
24, 2020.

45.     Please provide any and all documents and/or other media in the company’s possession
relative to any service calls to the involved facility from January 2010 through January 24, 2020.

46.     Please provide any and all documents and/or other media in the company’s possession
relative to any reports of propylene gas leaks at the involved facility from January 2010 through
January 24, 2020.

47.     Please provide any and all documentation relative to the corporate organizational structure
of the manufacturer including any and all entities, parties or departments responsible for the
design, manufacturing and marketing of the propylene utilization equipment.


                                                16
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 19 of 93




48.      Please produce all documents related to the design and construction of the propylene
utilization equipment.

49.      Please produce all documents related to the engineering changes made to the propylene
utilization equipment.

50.    Please produce all documents related any and all instructions intended for Matheson Tri-
Gas, Inc.

51.    Please produce all documents related to any and all revisions to any and all instructions
intended for Matheson Tri-Gas, Inc.

52.    Please produce all documents related to any and all warnings intended for Matheson Tri-
Gas, Inc.

53.   Please produce all documents related to any and all revisions to provide any and all
warnings intended for Matheson Tri-Gas, Inc.

54.    Please produce all documents related to any and all issued listing and/or certifications by
any other entity for the design, manufacturing and marketing of the propylene.

55.    Please produce all documentation that Matheson Tri-Gas, Inc. has applied for, obtained
and/or maintains registration to any recognized quality management system standard such as
ISO9001:2000.

56.    Please produce all documentation relative to any inquiries and/or investigations by any
regulatory entity or agency relative to the propylene.

57.    Please produce any and all documentation of other similar incidents involving the
propylene.

58.    Please produce any and all documentation of previous civil litigations involving the
propylene.

59.    Please produce any and all documentation of previous consumer complaints involving
propylene.

60.    Please produce any and all documents related to which individual within the corporate
organization is responsible for environmental, health and safety issues.

61.    Please produce any and all documents related to a written environmental, health and
safety policy or program.

62.    Please produce any and all documents related to customer inspections focusing on
environmental, health and safety issues.


                                               17
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 20 of 93




63.    Please produce all documents related to policies and procedures regarding the receipt,
storage, distribution or usage of flammable gases such as propylene.

64.    Please produce all documents related to training regarding the receipt, storage, distribution
or usage of flammable gases such as propylene.

65.     Please produce all documents related to training regarding any specific hazards located
within the coatings building.

66.   Please produce all documentation relating to all safety measures which you provide your
employees regarding the safe handling and storage of propylene.

67.    Please produce all documentation relating to all safety measures which you provide
brokers, agents, transporters, distributors and end users regarding the safe handling and storage of
propylene.

68.     Please produce all documents that provide all applicable state, federal, and all other
regulations relating to the manufacturing, sales, transport, distribution, brokerage, storage and
handling, which were used, possessed, owned, distributed, or referenced by you in the course of
business from 1983 to present.

69.     Please produce copies of all contracts for transporting propylene to Watson Grinding
within the past five years.

70.    Please produce all documents that evidence any discussion regarding alternative designs
or materials to make propylene less volatile, less unstable or less flammable.

71.     Please produce all documents relating to any studies, papers, discussions, correspondence
or testing regarding the explosiveness or detonation probability of propylene.

72.     Please produce all documents relating to the inclusion of any additives to make propylene
safer for transportation, storage or handling.

73.    Please produce all documents relating to the safer transportation, storage and handling of
propylene.

74.    Please produce all documents relating to the design specifications of propylene.

75.    Please produce all documents relating to the design (formula/specification) of the
propylene.



                                                18
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 21 of 93




76.   Please produce all documents relating to any alternative design/formulation used in the
manufacturing of propylene.

77.    Please produce all documentation relating to the specifications and components of the
propylene involved in this incident.

78.    Please produce all documents relating to the manufacture of the propylene involved in this
incident.

79.    Please produce all documents relating to the chemical compounding makeup of the
propylene involved in this incident.

80.    Please produce all documents relating to the formula of manufacturing propylene.

81.    Please produce all standards and regulations that you must comply with for manufacturing
of propylene.

82.    Please produce all documentation relating to any other blasts, uncontrolled or accidental,
and/or explosions involving propylene.

83.    Please produce all correspondence between you and any U.S. government agencies relating
to propylene during the last 10 years.

84.    Please produce your organizational charts for the past five years.

85.    Please produce any and all documentation, including notes, reports, analyses, news articles,
photographs, videos or audio tapes, relating to any fires, blasts, detonations and/or explosions
involving propylene.

86.     Please produce any and all floor plans, blueprints, layouts, structural diagrams,
architectural drawings or sketches, and schematics, and any subsequent changes or alterations
made as a result of incidents involving leaks and/or explosions since 1980.

87.    Please produce all documents related to Watson Grinding since it became your customer.

88.    Please produce all documents prepared by and/or kept by you that relate to Watson
Grinding and/or the Watson Grinding facility.

89.    Please produce all documents related to visits to Watson Grinding and/or the Watson
Grinding facility; including visits by sales personnel.

90.     Please produce all documents related to money you spent on lobbying activity in the past
ten (10) years.

                                                19
10471827v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 22 of 93




91.    Please produce all documents related to money you spent on research and development of
inherently safer technology in the past ten (10) years.

92.   Please produce all correspondence between you and the United States Bureau of Alcohol,
Tobacco, and Firearms regarding the bureau’s investigation into the explosion that occurred at the
Watson Grinding facility on January 24, 2020.

93.    Please produce all of your internal communications and correspondence relating to the
United States Bureau of Alcohol, Tobacco and Firearms’ investigation into the explosion that
occurred at the Watson Grinding Facility on January 24, 2020.

94.      Please produce all correspondence between you and the United States Chemical Safety
Board relating to the board’s investigation into the explosion that occurred at the Watson Grinding
facility on January 24, 2020.

95.    Please produce all of your internal communications and correspondence relating to the
United States Chemical Safety Board’s investigation into the explosion that occurred at the Watson
Grinding facility on January 24, 2020.

96.    Please produce any and all correspondence between you and any manufacturer, or any
documentation or requests to you from any manufacturer regarding the inspection of or verification
of a customer’s facility to ensure that the customer can safely and properly store and handle
propylene.

97.     Please produce any and all documents relating to the inspection, by you, any manufacturer
or any third party, of any customer’s facility to ensure or verify that the customer can safely and
properly store and handle propylene.

98.      Please produce any and all documentation relating to the inspection of Watson Grinding’s
facility, by you, any manufacturer or any third party, to ensure or verify that Watson Grinding
could safely and properly store and handle propylene.

99.     Please produce all policies and procedures, inspections, and due diligence you performed
at and/or on the Watson Grinding facility prior to selling and/or delivering any of your product(s)
prior to the incident.

100. Please produce all documents supporting your contention(s), if any, that Watson Grinding
or any other third party were negligent in any way and/or contributed to the incident.

101.   Please produce all documents related to product stewardship.

102. Please produce all documents related to American Chemical Counsel’s Customer Care
Program.

                                                20
10471827v1
                 Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 23 of 93



                                                 UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF TEXAS
                                                                    HOUSTON DIVISION


In Re:                                                                                   §
                                                                                         §       Case No.: 20-30967
WATSON GRINDING &                                                                        §
MANUFACTURING CO.                                                                        §       CHAPTER 11
                                                                                         §
            Debtor.                                                                      §

       SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
 OR TO PERMIT INSPECTION OF PREMISES IN BANKRUPTCY CASE(OR ADVERSARY
                              PROCEEDING)

To:         Western International Gas & Cylinder,Inc., by and through its counsel of record, Greenberg
            Traurig, LLP, Attn: Karl D. Burrcr, 1000 Louisiana St., Suite 1700, Houston, Texas 77002.
                                                        (Name ofperson to whom this subpoena is directed)

        IS! Productiofv. YOU ARE COMMANDED to produce at the lime, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling ofthe material:
Documents in Exhibit “1” attached.


 Place:                                                                                      Date and Time:
          Aaron J. Power, Porter Hedges LLP
          tOOO Main St., 36th FI., Houston, TX 77002                                         March 27, 2020 at 5:00 p.m.

         □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
properly possessed or controlled by you at the time, date, and location set forth below, so lliat the requesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                      Date and Time:




            Tlic following provisions ofl'cci. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are atlaciicd - Rule 45(c), relating
(0 the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(c) and (g), relating to your duty to respond
to this subpoena and the potential consequences of not doing so.

Date:           March 6. 2020


                                  CLERK OF COURT

                                                                                                          OR
                                             Signature of Clerk or Deputy Clerk                                                       Attorney's signature



The name, address, e-mail address, and telephone number of the attorney representing the Official Committee of the January
24 Claimants who issues or requests this subpoena, is: Aaron J. Power, Porter Hedges LLP, 1000 Main St. 36"' FI., Houston,
Texas 77002, apowerduxtrterliedites.coin, 713-226-6000.
                                      Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed.R.Civ.P. 45(a)(4).

B2570 (Form 2570- Subpoena lo Produce Docmiietils, Infortiiaiioti, orOlijccts or to Perinii liispeciioii in a Baiikrupicy Case or Adversary Proecediiij;) (Page 2)

                                                                         EXHIBIT B
          Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 24 of 93



                                        PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I    received  this   subpoena for              (name       of        individual   and         title,    if     any)
______________________________________
on (date) _____________________.

       ☐I  served the subpoena by delivering a copy to the named person as follows:
       ______________________
       ______________________________________________________________________________
       ______ ____________________________ on (date) ________________________; or

       ☐I         returned       the        subpoena        unexecuted        because:
       ______________________________________________
       ______________________________________________________________________________
       .

       Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
       have also tendered to the witness the fees for one day’s attendance, and the mileage allowed by
       law, in the amount of $_______________________.

My fees are $______________ for travel and $______________                 for     services,      for       a    total    of
$____________.



       I declare under penalty of perjury that this information is true.

                                              Date: _________________
                                                      Server’s signature
                                                          ______________________________
                                                      Printed name and title
                                                          ______________________________
                                                      Server’s address



Additional information regarding attempted service, etc.:
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 25 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                      Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)


(c) Place of Compliance.                                                                procedures apply to producing documents or electronically stored
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person                information:
to attend a trial, hearing, or deposition only as follows:                              (A) Documents. A person responding to a subpoena to produce documents
(A) within 100 miles of where the person resides, is employed, or regularly             must produce them as they are kept in the ordinary course of business or
transacts business in person; or                                                        must organize and label them to correspond to the categories in the demand.
(B) within the state where the person resides, is employed, or regularly                (B) Form for Producing Electronically Stored Information Not Specified. If
transacts business in person, if the person                                             a subpoena does not specify a form for producing electronically stored
(i) is a party of a party's officer; or                                                 information, the person responding must produce it in a form or forms in
(ii) is commanded to attend a trial and would not incur substantial expense.            which it is ordinarily maintained or in a reasonably usable form or forms.
(2) For Other Discovery. A subpoena may command:                                        (C) Electronically Stored Information Produced in Only One Form. The
(A) production of documents, electronically stored information, or tangible             person responding need not produce the same electronically stored
things at a place within 100 miles of where the person resides, is employed,            information in more than one form.
or regularly transacts business in person; and                                          (D) Inaccessible Electronically Stored Information. The person responding
(B) inspection of premises at the premises to be inspected.                             need not provide discovery of electronically stored information from sources
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             that the person identifies as not reasonably accessible because of undue
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    burden or cost. On motion to compel discovery or for a protective order, the
responsible for issuing and serving a subpoena must take reasonable steps to            person responding must show that the information is not reasonably
avoid imposing undue burden or expense on a person subject to the                       accessible because of undue burden or cost. If that showing is made, the court
subpoena. The court for the district where compliance is required must                  may nonetheless order discovery from such sources if the requesting party
enforce this duty and impose an appropriate sanction—which may include                  shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
lost earnings and reasonable attorney's fees—on a party or attorney who fails           may specify conditions for the discovery.
to comply.                                                                              (2) Claiming Privilege or Protection.
(2) Command to Produce Materials or Permit Inspection.                                  (A) Information Withheld. A person withholding subpoenaed information
(A) Appearance Not Required. A person commanded to produce documents,                   under a claim that it is privileged or subject to protection as trial-preparation
electronically stored information, or tangible things, or to permit the                 material must:
inspection of premises, need not appear in person at the place of production            (i) expressly make the claim; and
or inspection unless also commanded to appear for a deposition, hearing, or             (ii) describe the nature of the withheld documents, communications, or
trial.                                                                                  tangible things in a manner that, without revealing information itself
(B) Objections. A person commanded to produce documents or tangible                     privileged or protected, will enable the parties to assess the claim.
things or to permit inspection may serve on the party or attorney designated            (B) Information Produced. If information produced in response to a
in the subpoena a written objection to inspecting, copying, testing or                  subpoena is subject to a claim of privilege or of protection as trial-
sampling any or all of the materials or to inspecting the premises—or to                preparation material, the person making the claim may notify any party that
producing electronically stored information in the form or forms requested.             received the information of the claim and the basis for it. After being notified,
The objection must be served before the earlier of the time specified for               a party must promptly return, sequester, or destroy the specified information
compliance or 14 days after the subpoena is served. If an objection is made,            and any copies it has; must not use or disclose the information until the claim
the following rules apply:                                                              is resolved; must take reasonable steps to retrieve the information if the party
(i) At any time, on notice to the commanded person, the serving party may               disclosed it before being notified; and may promptly present the information
move the court for the district where compliance is required for an order               under seal to the court for the district where compliance is required for a
compelling production or inspection.                                                    determination of the claim. The person who produced the information must
(ii) These acts may be required only as directed in the order, and the order            preserve the information until the claim is resolved.
must protect a person who is neither a party nor a party's officer from                  (g) Contempt.
significant expense resulting from compliance.                                          The court for the district where compliance is required—and also, after a
(3) Quashing or Modifying a Subpoena.                                                   motion is transferred, the issuing court—may hold in contempt a person who,
(A) When Required. On timely motion, the court for the district where                   having been served, fails without adequate excuse to obey the subpoena or
compliance is required must quash or modify a subpoena that:                            an order related to it.
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in
Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden.
(B) When Permitted. To protect a person subject to or affected by a subpoena,
the court for the district where compliance is required may, on motion, quash
or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research, development, or
commercial information; or
(ii) disclosing an unretained expert's opinion or information that does not
describe specific occurrences in dispute and results from the expert's study
that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances described
in Rule 45(d)(3)(B), the court may, instead of quashing or modifying a
subpoena, order appearance or production under specified conditions if the
serving party:
(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.
(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 26 of 93




                  For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                          4
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 27 of 93




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In Re:                                          §
                                                §        Case No.: 20-30967
WATSON GRINDING &                               §
MANUFACTURING CO.                               §        CHAPTER 11
                                                §
                Debtor.                         §

                      REQUEST FOR PRODUCTION OF DOCUMENTS
                        PURSUANT TO BANKRUPTCY RULE 2004

To:      Western International Gas & Cylinder, Inc., by and through its counsel of record,
         Greenberg Traurig, LLP, Attn: Karl D. Burrer, 1000 Louisiana St., Suite 1700,
         Houston, Texas 77002.

         Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure, the

Official Committee of January 24 Claimants (the “Committee”) files and serves this Request for

Production of Documents on Western International Gas & Cylinder, Inc. (“Western”). Western is

instructed to produce for inspection and copying the documents set forth in the attached as Exhibit

1 by no later than March 27, 2020, at 5:00 p.m. at Porter Hedges LLP, Attn: Joshua W. Wolfshohl,

1000 Main Street, 36th Floor, Houston, Texas 77002-6341 (or at such other date and time as agreed

to by the parties).




                                                5
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 28 of 93




       Dated: March 6, 2020.
                                            Respectfully submitted,

                                            PORTER HEDGES LLP

                                            /s/ Joshua W. Wolfshohl
                                            Joshua W. Wolfshohl
                                            Aaron J. Power
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
                                            (713) 226-6000
                                            (713) 226-6248 (fax)
                                            jwolfshohl@porterhedges.com
                                            apower@porterhedges.com

                                            PROPOSED COUNSEL FOR THE OFFICIAL
                                            COMMITTEE OF JANUARY 24 CLAIMANTS

                               CERTIFICATE OF SERVICE

       This is to certify that on March 6, 2020, a true and correct copy of the foregoing Request
for Production of Documents Pursuant to Bankruptcy Rule 2004 was served via United States
mail, postage prepaid or by electronic transmission to the below parties.

Mary-Olga Lovett
Karl D. Burrer
Paul B. Kerlin
GREENBERG TRAURIG, LLP
1000 Louisiana St., Suite 1700
Houston, Texas 77002
Telephone: (713) 374-3500
Facsimile: (713) 374-3505
Email: BurrerK@gtlaw.com

Christopher M. LaVigne
GREENBERG TRAURIG, LLP
2200 Ross Ave., Suite 5200
Dallas, Texas 75201
Telephone: (214) 665-3600
Facsimile: (214) 665-3601
Email: LaVigneC@gtlaw.com
                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




                                               6
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 29 of 93




                                           EXHIBIT 1

                            INSTRUCTIONS AND DEFINITIONS

       1.      These document requests apply to all documents in your possession, custody or

control regardless of their location, and regardless of whether such documents are held by your

representatives, agents, attorneys, advisors, accountants, family members, or any other person.

In searching for any documents responsive to these requests, you should also search all devices

or media capable of containing electronic or magnetic data including, without limitation, hard

drives of all computers used by any person with knowledge of the facts relevant to this dispute,

network servers, back-up and archival storage systems, home computers, laptop computers,

voice mail systems, floppy disks, removable data cartridges, and any cell phones.

       2.      If any copy of any document whose production is sought is not identical to any

other copy thereof, by reason of any alterations, different form (e.g., electronic form), metadata

or metatags, marginal notes, comments or other material contained thereon, attached thereto,

or otherwise, all such non-identical copies shall be produced separately. Such other copies

include, without limitation, all revisions in electronic or magnetic format.

       3.      All Documents. All documents produced must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

number (e.g., ABC000001). This format must remain consistent across all production numbers.

The number of digits in the numeric portion of the format should not change in subsequent

productions, nor should spaces, hyphens, or other separators be added or deleted. Any document

that contains essential color should be produced in color. “Essential color” is defined as color that

is essential to the understanding of the document, such as the color in charts, maps, graphs, and

photographs.


                                                 7
10471782v1
         Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 30 of 93




         4.    Hard Copy Documents. For documents that only exist in hard copy and not

electronic form, please produce those documents as Group IV compressed single-page TIFF or

JPEG images named by Bates number. Provide standard LFP and OPT image load files with an

image key containing the same image names/Bates numbers as the corresponding images. All

TIFF/JPEG images must be branded and named with a unique, consistently formatted identifier

with an alpha prefix along with a fixed length Bates number (e.g., ABC000001). The LFP and

OPT load files should accurately reflect logical document breaks. OCR should be provided as

document level text files with an LST load file or as a linked path in a delimited text file (a .DAT

file).

         5.    Fielded data for hard copy documents should be provided in a delimited text file

with the following delimiters:

    Field separator = | (ASCII character 124) or , (ASCII character 020)
    Quote character = þ (ASCII character 254)
    Multi-entry delimiter = ; (ASCII character 059)
    Return value in data = ~ (ASCII character 126)
The fielded data should include but not be limited to the following:

        Beg Doc
        End Doc
        Beg Attach
        End Attach
        Page Count
        Custodian
        Location
        Production Volume

         6.    Electronic Documents. Please produce email, attachments, and loose native files as

Group IV compressed single-page TIFF or JPEG images named by Bates number. Provide

standard LFP and OPT image load files with an image key containing the same image names/Bates

numbers as the corresponding images. All TIFF/JPEG images must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates
                                               8
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 31 of 93




number (e.g., ABC0000001). Extracted text or OCR should be provided as document level text

files with an LST load file or as a linked path in a delimited text file (a .DAT file).

       7.      Additionally, Excel files, spreadsheets, database files, audio files, video files,

AutoCAD drawings, or any non-printable or unsupported file types should be produced in their

native format with a linked path in the .DAT file. A placeholder image with basic identifying

information (File Name and Bates number) should be provided. If counsel requests native files of

other specific documents, opposing counsel will comply as long as the request is not overly

burdensome or frivolous.

       8.      Metadata for the emails and attachments should be provided in a delimited text file

with the following delimiters:

      Field separator = | (ASCII character 124) or , (ASCII character 020)
      Quote character = þ (ASCII character 254)
      Multi-entry delimiter = ; (ASCII character 059)
      Return value in data = ~ (ASCII character 126)

       The metadata fields should include but not be limited to the following:

      Beg Doc
      End Doc
      Beg Attach
      End Attach
      Page Count
      Production Volume
      Media Type (i.e., Email, Attachment, Attached Email, Loose Edoc, Attached Edoc)
      Family Date (MM/DD/YYYY)
      Family Time (MM/DD/YYYY hh:mm:ss)
      Date Sent (MM/DD/YYYY)
      Time Sent (MM/DD/YYYY hh:mm:ss)
      Date Received (MM/DD/YYYY)
      Time Received (MM/DD/YYYY hh:mm:ss)
      Date Created (MM/DD/YYYY)
      Time Created (MM/DD/YYYY hh:mm:ss)
      Date Last Modified (MM/DD/YYYY)
      Time Last Modified (MM/DD/YYYY hh:mm:ss)
      Date Last Accessed (MM/DD/YYYY)
                                                  9
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 32 of 93




      Time Last Accessed (MM/DD/YYYY hh:mm:ss)
      Author
      From
      To
      CC
      BCC
      Subject
      MsgID
      MD5Hash
      SHA1Hash
      File Size
      File Extension
      File Type
      File Name
      Original Folder or Pathway
      Application
      Attachment Count
      Attachment Titles
      Doc Title
      File/Doc Type (if different from Media)
      Custodian
      Confidential Designation
      Native Path

       9.      In the event the volume of loose natives becomes excessively large and thereby

exceedingly costly to process, counsel will notify opposing counsel and the parties will consider

alternatives to a tiff/jpeg production.

       10.     Production Media. Please provide all production deliverables on external USB

drives or via FTP link.

       11.     The Requests for Production specifically request electronically stored

information and all meta-data associated with said electronically stored information.

       12.     In producing documents, all documents which are physically attached to each

other in your files shall be left so attached. Documents shall be produced in the order in which

they were maintained.



                                               10
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 33 of 93




       13.     For each document that you claim is privileged or otherwise not discoverable,

provide a privilege log.

       14.     If no responsive documents exist for a particular response, please so indicate by

stating “none.”

       15.    For each Request for Production, please identify which bates-labeled documents
are responsive.

                                         DEFINITIONS

       1.      The terms “all,” “each” and “any” shall be construed to mean all, each, every, and

any.

       2.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       3.      The term “Debtor” means Watson Grinding & Manufacturing Co.

       4.      The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of this term in Federal Rule of Civil Procedure 34(a), made applicable to this

proceeding by Rules 7034 and 9014 of the Federal Rules of Bankruptcy Procedure, including,

without limitation, electronic or computerized data compilations. A draft or non-identical copy is

a separate Document within the meaning of this term.

       5.      The term “including” means including but not limited to.

       6.      The terms “regarding”, “related to”, “relate to”, “relating to”, “referred to”, “refer

to”, and “referring to” mean having any relationship or connection to, concerning, being connected

to, commenting on, responding to, containing, constituting, showing, memorializing, describing,

analyzing, reflecting, pertaining to, compromising, identifying, discussing, evidencing, or

otherwise establishing a reasonable, logical, or causal connection.

                                                11
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 34 of 93




       7.      The term “You” or “Your” means Western International Gas & Cylinders, Inc., its

affiliates, subsidiaries, officers, managers, employees, or agents, or any person or entity authorized

to act on behalf of Western.

       8.      “Watson Grinding” means the Debtor.




                                                 12
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 35 of 93




                            LIST OF REQUESTED DOCUMENTS

1.       Please produce all documents related to any and all federal, state, and local laws and
ordinances which are applicable to the business operations and processes at Watson Grinding
facilities located at 4525 Gessner Rd., Houston, Texas and Western International Gas & Cylinders,
Inc. interaction with the same.

2.      Please produce all documents related to any and all industry standards which are applicable
to the business operations and processes at Watson Grinding facilities located at 4525 Gessner Rd.,
Houston, Texas and Western International Gas & Cylinders, Inc. interaction with the same.

3.       Please produce all documents related to any and all state, local, and county laws and
ordinances which are applicable to the construction, installation, and design of Watson Grinding
facilities located at 4525 Gessner Rd., Houston, Texas and Western International Gas & Cylinders,
Inc. interaction with the same.

4.      Please produce all documents related to any and all state, local, and county laws and
ordinances which were reviewed, consulted, and adhered to in the construction, installation, and
design of Watson Grinding facilities located at 4525 Gessner Rd., Houston, Texas and Western
International Gas & Cylinders, Inc. interaction with the same.

5.     Please produce all documents related to any and all written operational policies and
procedures, written and digital training materials, and written and digital training records for any
and all operations, production activities, processes, or functional tasks that occur at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas and Western International Gas &
Cylinders, Inc. interaction with the same.

6.      Please produce all documents related to any and all written safety policies and procedures
for any and all operations, production activities, processes, or functional tasks that occur at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas, and any and all written and digital
training materials and records for such policies and procedures, and Western International Gas &
Cylinders, Inc. interaction with the same.

7.     Please produce all documents related to the construction, installation, and design of any
equipment located at 4525 Gessner Rd., Houston, Texas by Western International Gas &
Cylinders, Inc.

8.     Please provide a copy of any and all contracts and master service agreements between
Western International and Watson Grinding for delivery of propylene that were in effect on
January 24, 2020 and since January 2010.

9.     Please provide a copy of all invoices for delivery of propylene to Watson Grinding from
January 2010 through January 24, 2020.

10.     Please produce all correspondence with the manufacturer of the propylene that was
delivered to Watson Grinding from January 2010 through January 24, 2020.

                                                 13
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 36 of 93




11.    Please provide a copy of all invoices for delivery of flammable chemicals to Watson
Grinding from January 2010 through January 24, 2020.

12.     Please provide a copy of any and all contracts and master service agreements between
Western International and Watson Grinding for monitoring and detection of the propylene storage
tank, including but not limited to, usage rates, mechanical integrity of propylene piping system,
leak detection and monitoring, and emergency services that were in effect on 24 January 2020.

13.    Please provide documentation of any and all services rendered to Watson Grinding from
January 2010 through January 24, 2020, including but not limited to, supply of propylene, supply
of flammable gases, supply of flammable liquids, monitoring and detection of flammable storage,
and mechanical integrity of flammable storage piping systems.

14.    Please provide any and all documentation pertaining to the flammable chemicals supplied
to Watson Grinding, including but not limited to chemical composition (liquid vs. gas), storage
temperature, storage pressure, vaporization of liquid flammable chemicals, and odorization of
flammable chemicals.

15.   Please provide a copy of any and all documentation outlining monitoring and detection
components and systems installed at Watson Grinding that were under the operation and control
of Western International from January 2010 through January 24, 2020 for the detection and/or
automatic shutoff of flammable gases.

16.     Please provide a copy of the monitoring and detection procedures utilized by Western
International for surveillance of the flammable gas storage and usage at Watson Grinding.

17.     Please provide any and all documentation for software utilized for monitoring and
detection components and systems installed at Watson Grinding that were under the operation and
control of Western International from January 2010 through January 24, 2020 for the detection
and/or automatic shutoff of flammable gases including, but not limited to, software name, version
number, and vendor and user manuals.

18.    Please provide a copy of any and all inspection, maintenance, and repair records related to
the propylene systems and all other storage tanks and piping systems in use or present at Watson
Grinding facilities located at 4525 Gessner Rd., Houston, Texas and West International & Gas
Cylinders, Inc. interaction with the same.

19.     Please produce all documents related to equipment parts and components provided by
Western International Gas & Cylinder, Inc. to Watson Grinding and Manufacturing Co. that were
on site on January 24, 2020.

20.    Please produce all documents related to equipment parts and components replaced or
repaired by Western International Gas & Cylinder, Inc. from January 2010 through January 24,
2020 when the explosion occurred at Watson Grinding and Manufacturing Co.


                                               14
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 37 of 93




21.    Please produce all documented related to any other supplies or equipment related to the
propylene system provided by Western International Gas & Cylinder, Inc. to Watson Grinding and
Manufacturing Co.

22.   Please produce all documents related to the corporate organizational structure of the
company.


23.     Please produce all documents related to the safety policies and procedures of the company
in regard to propylene.




24.     Please produce all documents related to the company’s compliance with federal and state
regulations regarding the delivery of propylene.

25.     Please produce all documents related to the duties and responsibilities of employees
delivering propylene.

26.     Please produce all documents related to the company’s own investigation and analysis of
the hostile explosion incident.

27.    Please produce all documents related to all industry or professional organizations in which
the company maintains a membership.

28.   Please produce all documents related to all industry or professional organizations in which
any company employee serves as a member of.

29.    Please produce all documents related to any and all laws, regulations, codes and standards
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

30.    Please produce all documents related to any and all industry codes and standards
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

31.    Please produce all documents related to any and all standards of good care and good
promulgated by any entity that are applicable to the services of the company and the delivery of
propylene.

32.   Please produce all documents related to any and all local laws that Western International
Gas & Cylinder, Inc. recognizes are applicable to their delivery of propylene.

33.    Please produce all documents related to all state laws that the Western International Gas &
Cylinder, Inc. recognizes are applicable to their delivery of propylene.
                                                 15
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 38 of 93




34.     Please produce all documents related to any and all federal laws that the Western
International Gas & Cylinder, Inc. recognizes are applicable to their delivery of propylene.

35.    Please produce all documents related to any and all industry codes and standards that the
Western International Gas & Cylinder, Inc. recognizes are applicable to their delivery of
propylene.

36.    Please produce all documents related to any and all company policy and procedures that
the Western International Gas & Cylinder, Inc. recognizes are applicable to their delivery of
propylene.

37.    Please produce all documents related to the make, model and serial number of any and all
air monitoring and/or combustible gas detection equipment that was available to the company
employee while delivering propylene.

38.    Please produce all documents related to the most recent certification/calibration
documentation for any such air monitoring and/or combustible gas detection equipment identified
above.

39.   Please produce all documents related to the immediate supervisor of the company
employee who most recently delivered propylene to the involved facility.

40.   Please produce all documents related to the immediate supervisor’s supervisor of the
company employee who most recently delivered propylene to the involved facility.
41.   Please provide any and all documents and/or other media which represent the defendant’s
company policies and procedures related to propylene.

42.    Please provide complete employment file of the company employees who have delivered
propylene to the involved facility since January 2010.

43.    Please provide any and all documents and/or other media which document any training
received by the company employees who have delivered propylene to the involved facility since
January 2010.

44.     Please provide any and all documents and/or other media in the company’s possession
relative to the delivery of propylene to the involved facility from January 2010 through January
24, 2020.

45.     Please provide any and all documents and/or other media in the company’s possession
relative to any service calls to the involved facility from January 2010 through January 24, 2020.

46.     Please provide any and all documents and/or other media in the company’s possession
relative to any reports of propylene gas leaks at the involved facility from January 2010 through
January 24, 2020.


                                               16
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 39 of 93




47.     Please provide any and all documentation relative to the corporate organizational structure
of the manufacturer including any and all entities, parties or departments responsible for the
design, manufacturing and marketing of the propylene utilization equipment.

48.      Please produce all documents related to the design and construction of the propylene
utilization equipment.

49.      Please produce all documents related to the engineering changes made to the propylene
utilization equipment.


50.     Please produce all documents related any and all instructions intended for Western
International Gas & Cylinder, Inc.

51.    Please produce all documents related to any and all revisions to any and all instructions
intended for Western International Gas & Cylinder, Inc.

52.     Please produce all documents related to any and all warnings intended for Western
International Gas & Cylinder, Inc.

53.   Please produce all documents related to any and all revisions to provide any and all
warnings intended for Western International Gas & Cylinder, Inc.

54.    Please produce all documents related to any and all issued listing and/or certifications by
any other entity for the design, manufacturing and marketing of the propylene.

55.    Please produce all documentation that Western International Gas & Cylinder, Inc. has
applied for, obtained and/or maintains registration to any recognized quality management system
standard such as ISO9001:2000.

56.    Please produce all documentation relative to any inquiries and/or investigations by any
regulatory entity or agency relative to the propylene.

57.    Please produce any and all documentation of other similar incidents involving the
propylene.

58.    Please produce any and all documentation of previous civil litigations involving the
propylene.

59.    Please produce any and all documentation of previous consumer complaints involving
propylene.

60.    Please produce any and all documents related to which individual within the corporate
organization is responsible for environmental, health and safety issues.



                                                17
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 40 of 93




61.    Please produce any and all documents related to a written environmental, health and
safety policy or program.

62.    Please produce any and all documents related to customer inspections focusing on
environmental, health and safety issues.


63.    Please produce all documents related to policies and procedures regarding the receipt,
storage, distribution or usage of flammable gases such as propylene.

64.    Please produce all documents related to training regarding the receipt, storage, distribution
or usage of flammable gases such as propylene.

65.     Please produce all documents related to training regarding any specific hazards located
within the coatings building.

66.   Please produce all documentation relating to all safety measures which you provide your
employees regarding the safe handling and storage of propylene.

67.    Please produce all documentation relating to all safety measures which you provide
brokers, agents, transporters, distributors and end users regarding the safe handling and storage of
propylene.

68.     Please produce all documents that provide all applicable state, federal, and all other
regulations relating to the manufacturing, sales, transport, distribution, brokerage, storage and
handling, which were used, possessed, owned, distributed, or referenced by you in the course of
business from 1983 to present.

69.     Please produce copies of all contracts for transporting propylene to Watson Grinding
within the past five years.

70.    Please produce all documents that evidence any discussion regarding alternative designs
or materials to make propylene less volatile, less unstable or less flammable.

71.     Please produce all documents relating to any studies, papers, discussions, correspondence
or testing regarding the explosiveness or detonation probability of propylene.

72.     Please produce all documents relating to the inclusion of any additives to make propylene
safer for transportation, storage or handling.

73.    Please produce all documents relating to the safer transportation, storage and handling of
propylene.


                                                18
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 41 of 93




74.    Please produce all documents relating to the design specifications of propylene.

75.    Please produce all documents relating to the design (formula/specification) of the
propylene.

76.   Please produce all documents relating to any alternative design/formulation used in the
manufacturing of propylene.

77.    Please produce all documentation relating to the specifications and components of the
propylene involved in this incident.

78.    Please produce all documents relating to the manufacture of the propylene involved in this
incident.

79.    Please produce all documents relating to the chemical compounding makeup of the
propylene involved in this incident.

80.    Please produce all documents relating to the formula of manufacturing propylene.

81.    Please produce all standards and regulations that you must comply with for manufacturing
of propylene.

82.    Please produce all documentation relating to any other blasts, uncontrolled or accidental,
and/or explosions involving propylene.

83.    Please produce all correspondence between you and any U.S. government agencies relating
to propylene during the last 10 years.

84.    Please produce your organizational charts for the past five years.

85.    Please produce any and all documentation, including notes, reports, analyses, news articles,
photographs, videos or audio tapes, relating to any fires, blasts, detonations and/or explosions
involving propylene.

86.     Please produce any and all floor plans, blueprints, layouts, structural diagrams,
architectural drawings or sketches, and schematics, and any subsequent changes or alterations
made as a result of incidents involving leaks and/or explosions since 1980.

87.    Please produce all documents related to Watson Grinding since it became your customer.

88.    Please produce all documents prepared by and/or kept by you that relate to Watson
Grinding and/or the Watson Grinding facility.

                                                19
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 42 of 93




89.    Please produce all documents related to visits to Watson Grinding and/or the Watson
Grinding facility; including visits by sales personnel.

90.     Please produce all documents related to money you spent on lobbying activity in the past
ten (10) years.

91.    Please produce all documents related to money you spent on research and development of
inherently safer technology in the past ten (10) years.

92.   Please produce all correspondence between you and the United States Bureau of Alcohol,
Tobacco, and Firearms regarding the bureau’s investigation into the explosion that occurred at the
Watson Grinding facility on January 24, 2020.

93.    Please produce all of your internal communications and correspondence relating to the
United States Bureau of Alcohol, Tobacco and Firearms’ investigation into the explosion that
occurred at the Watson Grinding Facility on January 24, 2020.

94.      Please produce all correspondence between you and the United States Chemical Safety
Board relating to the board’s investigation into the explosion that occurred at the Watson Grinding
facility on January 24, 2020.

95.    Please produce all of your internal communications and correspondence relating to the
United States Chemical Safety Board’s investigation into the explosion that occurred at the Watson
Grinding facility on January 24, 2020.

96.    Please produce any and all correspondence between you and any manufacturer, or any
documentation or requests to you from any manufacturer regarding the inspection of or verification
of a customer’s facility to ensure that the customer can safely and properly store and handle
propylene.

97.     Please produce any and all documents relating to the inspection, by you, any manufacturer
or any third party, of any customer’s facility to ensure or verify that the customer can safely and
properly store and handle propylene.

98.      Please produce any and all documentation relating to the inspection of Watson Grinding’s
facility, by you, any manufacturer or any third party, to ensure or verify that Watson Grinding
could safely and properly store and handle propylene.

99.     Please produce all policies and procedures, inspections, and due diligence you performed
at and/or on the Watson Grinding facility prior to selling and/or delivering any of your product(s)
prior to the incident.



                                                20
10471782v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 43 of 93




100. Please produce all documents supporting your contention(s), if any, that Watson Grinding
or any other third party were negligent in any way and/or contributed to the incident.

101.   Please produce all documents related to product stewardship.

102. Please produce all documents related to American Chemical Counsel’s Customer Care
Program.




                                              21
10471782v1
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 44 of 93



                                                UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF TEXAS
                                                                    HOUSTON DIVISION


In Re:                                                                                  §
                                                                                        §      Case No.: 20-30967
WATSON GRINDING &                                                                       §
MANUFACTURING CO.                                                                       §      CHAPTER 11
                                                                                        §
            Debtor.                                                                     §

       SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
 OR TO PERMIT INSPECTION OF PREMISES IN BANKRUPTCY CASE(OR ADVERSARY
                              PROCEEDING)

To:         Detcon, Inc., by and through its Registered Agent, Cogency Global Inc., 1601 Elm St., Suite
            4360, Dallas, TX 75201.

                                                       (Name ofperson to whom this subpoena is directed)

           [2 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to pennil inspection, copying, testing, or sampling ofthe material;
Documents in Exhibit “1” attached.


 Place:                                                                                     Date and Time:
          Aaron J. Power, Porter Hedges LLP
          1000 Main St., 36th FI., Houston, TX 77002                                        March 27, 2020 at 5:00 p.m.

         □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated pi'emises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the i-equesting party may inspect,
measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                     Date and Time:




            The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy casc.s by Fed. R. Bankr. P. 9016, arc allacbed - Rule 45(c), relating
to the place of compliance; Rule 45(d}, relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond
to this subpoena and (lie potential consequences of not doing so.

Date:           March 6. 2020

                                  CLERK OF COURT

                                                                                                        OR
                                            Signature ofClerk or Deputy Clerk                                                                                '■e




The name, address, e-mail address, and telephone number of the attorney representing tlie Official Committee of the January
24 Claimants who issues or requests this subpoena, is; Aaron J. Power, Porter Hedges LLP, 1000 Main St. 36''' FL, Houston,
Texas 77002, upowerCiCporterhedges.conij 713-226-6000.
                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed.R.Civ.P. 45(a)(4).

B2570 (Form 2570- Subpoena lo Produce Docuineiils. liiforinaiion, or Objucls or lo Pcrmil Iti.speclion in a Unnkiuplcy Cn.'ic or Adversary Proceeding) (Piige 2)

                                                                         EXHIBIT C
          Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 45 of 93



                                        PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I    received  this   subpoena for              (name       of        individual   and         title,    if     any)
______________________________________
on (date) _____________________.

       ☐I  served the subpoena by delivering a copy to the named person as follows:
       ______________________
       ______________________________________________________________________________
       ______ ____________________________ on (date) ________________________; or

       ☐I         returned       the        subpoena        unexecuted        because:
       ______________________________________________
       ______________________________________________________________________________
       .

       Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
       have also tendered to the witness the fees for one day’s attendance, and the mileage allowed by
       law, in the amount of $_______________________.

My fees are $______________ for travel and $______________                 for     services,      for       a    total    of
$____________.



       I declare under penalty of perjury that this information is true.

                                              Date: _________________
                                                      Server’s signature
                                                          ______________________________
                                                      Printed name and title
                                                          ______________________________
                                                      Server’s address



Additional information regarding attempted service, etc.:
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 46 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                      Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)


(c) Place of Compliance.                                                                procedures apply to producing documents or electronically stored
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person                information:
to attend a trial, hearing, or deposition only as follows:                              (A) Documents. A person responding to a subpoena to produce documents
(A) within 100 miles of where the person resides, is employed, or regularly             must produce them as they are kept in the ordinary course of business or
transacts business in person; or                                                        must organize and label them to correspond to the categories in the demand.
(B) within the state where the person resides, is employed, or regularly                (B) Form for Producing Electronically Stored Information Not Specified. If
transacts business in person, if the person                                             a subpoena does not specify a form for producing electronically stored
(i) is a party of a party's officer; or                                                 information, the person responding must produce it in a form or forms in
(ii) is commanded to attend a trial and would not incur substantial expense.            which it is ordinarily maintained or in a reasonably usable form or forms.
(2) For Other Discovery. A subpoena may command:                                        (C) Electronically Stored Information Produced in Only One Form. The
(A) production of documents, electronically stored information, or tangible             person responding need not produce the same electronically stored
things at a place within 100 miles of where the person resides, is employed,            information in more than one form.
or regularly transacts business in person; and                                          (D) Inaccessible Electronically Stored Information. The person responding
(B) inspection of premises at the premises to be inspected.                             need not provide discovery of electronically stored information from sources
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             that the person identifies as not reasonably accessible because of undue
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    burden or cost. On motion to compel discovery or for a protective order, the
responsible for issuing and serving a subpoena must take reasonable steps to            person responding must show that the information is not reasonably
avoid imposing undue burden or expense on a person subject to the                       accessible because of undue burden or cost. If that showing is made, the court
subpoena. The court for the district where compliance is required must                  may nonetheless order discovery from such sources if the requesting party
enforce this duty and impose an appropriate sanction—which may include                  shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
lost earnings and reasonable attorney's fees—on a party or attorney who fails           may specify conditions for the discovery.
to comply.                                                                              (2) Claiming Privilege or Protection.
(2) Command to Produce Materials or Permit Inspection.                                  (A) Information Withheld. A person withholding subpoenaed information
(A) Appearance Not Required. A person commanded to produce documents,                   under a claim that it is privileged or subject to protection as trial-preparation
electronically stored information, or tangible things, or to permit the                 material must:
inspection of premises, need not appear in person at the place of production            (i) expressly make the claim; and
or inspection unless also commanded to appear for a deposition, hearing, or             (ii) describe the nature of the withheld documents, communications, or
trial.                                                                                  tangible things in a manner that, without revealing information itself
(B) Objections. A person commanded to produce documents or tangible                     privileged or protected, will enable the parties to assess the claim.
things or to permit inspection may serve on the party or attorney designated            (B) Information Produced. If information produced in response to a
in the subpoena a written objection to inspecting, copying, testing or                  subpoena is subject to a claim of privilege or of protection as trial-
sampling any or all of the materials or to inspecting the premises—or to                preparation material, the person making the claim may notify any party that
producing electronically stored information in the form or forms requested.             received the information of the claim and the basis for it. After being notified,
The objection must be served before the earlier of the time specified for               a party must promptly return, sequester, or destroy the specified information
compliance or 14 days after the subpoena is served. If an objection is made,            and any copies it has; must not use or disclose the information until the claim
the following rules apply:                                                              is resolved; must take reasonable steps to retrieve the information if the party
(i) At any time, on notice to the commanded person, the serving party may               disclosed it before being notified; and may promptly present the information
move the court for the district where compliance is required for an order               under seal to the court for the district where compliance is required for a
compelling production or inspection.                                                    determination of the claim. The person who produced the information must
(ii) These acts may be required only as directed in the order, and the order            preserve the information until the claim is resolved.
must protect a person who is neither a party nor a party's officer from                  (g) Contempt.
significant expense resulting from compliance.                                          The court for the district where compliance is required—and also, after a
(3) Quashing or Modifying a Subpoena.                                                   motion is transferred, the issuing court—may hold in contempt a person who,
(A) When Required. On timely motion, the court for the district where                   having been served, fails without adequate excuse to obey the subpoena or
compliance is required must quash or modify a subpoena that:                            an order related to it.
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in
Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden.
(B) When Permitted. To protect a person subject to or affected by a subpoena,
the court for the district where compliance is required may, on motion, quash
or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research, development, or
commercial information; or
(ii) disclosing an unretained expert's opinion or information that does not
describe specific occurrences in dispute and results from the expert's study
that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances described
in Rule 45(d)(3)(B), the court may, instead of quashing or modifying a
subpoena, order appearance or production under specified conditions if the
serving party:
(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.
(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 47 of 93




                  For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                          4
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 48 of 93




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In Re:                                          §
                                                §       Case No.: 20-30967
WATSON GRINDING &                               §
MANUFACTURING CO.                               §       CHAPTER 11
                                                §
                Debtor.                         §

                     REQUEST FOR PRODUCTION OF DOCUMENTS
                       PURSUANT TO BANKRUPTCY RULE 2004

To:      Detcon, Inc., by and through its Registered Agent, Cogency Global Inc., 1601 Elm St.,
         Suite 4360, Dallas, TX 75201.

         Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure, the

Official Committee of January 24 Claimants (the “Committee”) files and serves this Request for

Production of Documents on Detcon, Inc. (“Detcon”). Detcon is instructed to produce for

inspection and copying the documents set forth in the attached as Exhibit 1 by no later than March

27, 2020, at 5:00 p.m. at Porter Hedges LLP, Attn: Joshua W. Wolfshohl, 1000 Main Street, 36th

Floor, Houston, Texas 77002-6341 (or at such other date and time as agreed to by the parties).




                                                5
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 49 of 93




       Dated: March 6, 2020.

                                            Respectfully submitted,

                                            PORTER HEDGES LLP

                                            /s/ Joshua W. Wolfshohl
                                            Joshua W. Wolfshohl
                                            Aaron J. Power
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
                                            (713) 226-6000
                                            (713) 226-6248 (fax)
                                            jwolfshohl@porterhedges.com
                                            apower@porterhedges.com

                                            PROPOSED COUNSEL FOR THE OFFICIAL
                                            COMMITTEE OF JANUARY 24 CLAIMANTS

                               CERTIFICATE OF SERVICE

       This is to certify that on March 6, 2020, a true and correct copy of the foregoing Request
for Production of Documents Pursuant to Bankruptcy Rule 2004 was served via United States
mail, postage prepaid or by electronic transmission to the below parties.

Detcon, Inc.
c/o Registered Agent, Cogency Global Inc.
1601 Elm St., Suite 4360
Dallas, TX 75201


                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




                                               6
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 50 of 93




                                           EXHIBIT 1

                            INSTRUCTIONS AND DEFINITIONS

       1.      These document requests apply to all documents in your possession, custody or

control regardless of their location, and regardless of whether such documents are held by your

representatives, agents, attorneys, advisors, accountants, family members, or any other person.

In searching for any documents responsive to these requests, you should also search all devices

or media capable of containing electronic or magnetic data including, without limitation, hard

drives of all computers used by any person with knowledge of the facts relevant to this dispute,

network servers, back-up and archival storage systems, home computers, laptop computers,

voice mail systems, floppy disks, removable data cartridges, and any cell phones.

       2.      If any copy of any document whose production is sought is not identical to any

other copy thereof, by reason of any alterations, different form (e.g., electronic form), metadata

or metatags, marginal notes, comments or other material contained thereon, attached thereto,

or otherwise, all such non-identical copies shall be produced separately. Such other copies

include, without limitation, all revisions in electronic or magnetic format.

       3.      All Documents. All documents produced must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

number (e.g., ABC000001). This format must remain consistent across all production numbers.

The number of digits in the numeric portion of the format should not change in subsequent

productions, nor should spaces, hyphens, or other separators be added or deleted. Any document

that contains essential color should be produced in color. “Essential color” is defined as color that

is essential to the understanding of the document, such as the color in charts, maps, graphs, and

photographs.



                                                 7
10477424v1
         Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 51 of 93




         4.    Hard Copy Documents. For documents that only exist in hard copy and not

electronic form, please produce those documents as Group IV compressed single-page TIFF or

JPEG images named by Bates number. Provide standard LFP and OPT image load files with an

image key containing the same image names/Bates numbers as the corresponding images. All

TIFF/JPEG images must be branded and named with a unique, consistently formatted identifier

with an alpha prefix along with a fixed length Bates number (e.g., ABC000001). The LFP and

OPT load files should accurately reflect logical document breaks. OCR should be provided as

document level text files with an LST load file or as a linked path in a delimited text file (a .DAT

file).

         5.    Fielded data for hard copy documents should be provided in a delimited text file

with the following delimiters:

    Field separator = | (ASCII character 124) or , (ASCII character 020)
    Quote character = þ (ASCII character 254)
    Multi-entry delimiter = ; (ASCII character 059)
    Return value in data = ~ (ASCII character 126)
The fielded data should include but not be limited to the following:

        Beg Doc
        End Doc
        Beg Attach
        End Attach
        Page Count
        Custodian
        Location
        Production Volume

         6.    Electronic Documents. Please produce email, attachments, and loose native files as

Group IV compressed single-page TIFF or JPEG images named by Bates number. Provide

standard LFP and OPT image load files with an image key containing the same image names/Bates

numbers as the corresponding images. All TIFF/JPEG images must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

                                                 8
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 52 of 93




number (e.g., ABC0000001). Extracted text or OCR should be provided as document level text

files with an LST load file or as a linked path in a delimited text file (a .DAT file).

       7.      Additionally, Excel files, spreadsheets, database files, audio files, video files,

AutoCAD drawings, or any non-printable or unsupported file types should be produced in their

native format with a linked path in the .DAT file. A placeholder image with basic identifying

information (File Name and Bates number) should be provided. If counsel requests native files of

other specific documents, opposing counsel will comply as long as the request is not overly

burdensome or frivolous.

       8.      Metadata for the emails and attachments should be provided in a delimited text file

with the following delimiters:

      Field separator = | (ASCII character 124) or , (ASCII character 020)
      Quote character = þ (ASCII character 254)
      Multi-entry delimiter = ; (ASCII character 059)
      Return value in data = ~ (ASCII character 126)

       The metadata fields should include but not be limited to the following:

      Beg Doc
      End Doc
      Beg Attach
      End Attach
      Page Count
      Production Volume
      Media Type (i.e., Email, Attachment, Attached Email, Loose Edoc, Attached Edoc)
      Family Date (MM/DD/YYYY)
      Family Time (MM/DD/YYYY hh:mm:ss)
      Date Sent (MM/DD/YYYY)
      Time Sent (MM/DD/YYYY hh:mm:ss)
      Date Received (MM/DD/YYYY)
      Time Received (MM/DD/YYYY hh:mm:ss)
      Date Created (MM/DD/YYYY)
      Time Created (MM/DD/YYYY hh:mm:ss)
      Date Last Modified (MM/DD/YYYY)
      Time Last Modified (MM/DD/YYYY hh:mm:ss)
      Date Last Accessed (MM/DD/YYYY)

                                                  9
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 53 of 93




      Time Last Accessed (MM/DD/YYYY hh:mm:ss)
      Author
      From
      To
      CC
      BCC
      Subject
      MsgID
      MD5Hash
      SHA1Hash
      File Size
      File Extension
      File Type
      File Name
      Original Folder or Pathway
      Application
      Attachment Count
      Attachment Titles
      Doc Title
      File/Doc Type (if different from Media)
      Custodian
      Confidential Designation
      Native Path

       9.      In the event the volume of loose natives becomes excessively large and thereby

exceedingly costly to process, counsel will notify opposing counsel and the parties will consider

alternatives to a tiff/jpeg production.

       10.     Production Media. Please provide all production deliverables on external USB

drives or via FTP link.

       11.     The Requests for Production specifically request electronically stored

information and all meta-data associated with said electronically stored information.

       12.     In producing documents, all documents which are physically attached to each

other in your files shall be left so attached. Documents shall be produced in the order in which

they were maintained.




                                               10
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 54 of 93




       13.     For each document that you claim is privileged or otherwise not discoverable,

provide a privilege log.

       14.     If no responsive documents exist for a particular response, please so indicate by

stating “none.”

       15.    For each Request for Production, please identify which bates-labeled documents
are responsive.

                                         DEFINITIONS

       1.      The terms “all,” “each” and “any” shall be construed to mean all, each, every, and

any.

       2.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       3.      The term “Debtor” means Watson Grinding & Manufacturing Co.

       4.      The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of this term in Federal Rule of Civil Procedure 34(a), made applicable to this

proceeding by Rules 7034 and 9014 of the Federal Rules of Bankruptcy Procedure, including,

without limitation, electronic or computerized data compilations. A draft or non-identical copy is

a separate Document within the meaning of this term.

       5.      The term “including” means including but not limited to.

       6.      The terms “regarding”, “related to”, “relate to”, “relating to”, “referred to”, “refer

to”, and “referring to” mean having any relationship or connection to, concerning, being connected

to, commenting on, responding to, containing, constituting, showing, memorializing, describing,

analyzing, reflecting, pertaining to, compromising, identifying, discussing, evidencing, or

otherwise establishing a reasonable, logical, or causal connection.


                                                11
10477424v1
        Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 55 of 93




        7.    The term “You” or “Your” means Detcon, Inc., its affiliates, subsidiaries, officers,

managers, employees, or agents, or any person or entity authorized to act on behalf of Detcon,

Inc..

        8.    “Watson Grinding” means the Debtor.

        9.    “Watson Valve” means Watson Valve Services, Inc.




                                               12
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 56 of 93




                            LIST OF REQUESTED DOCUMENTS

1.     Please produce all documents related to any and all calibration records of the gas sensors
at Watson Grinding & Manufacturing and/or Watson Valve.

2.    Please produce all documents related to any and all sensors present and calibrated on the
Watson Grinding & Manufacturing and/or Watson Valve.

3.     Please produce all documents related to any and all calibration records of all sensors that
show the as-found and as-left conditions of the sensors Watson Grinding & Manufacturing and/or
Watson Valve.

4.      Please produce all documents related to any and all applicable procedures and standards
used in the calibration process.

5.      Please produce all documents related to any and all the equipment and devices used in the
calibration of the gas sensors. Including any calibration or certification documents for this
equipment.

6.      Please produce all documents related to any and all the technicians that performed the
calibrations of the gas sensors.

7.      Please produce all documents related to any and all repairs or replacements performed in
the calibration or servicing of the gas sensors Watson Grinding & Manufacturing and/or Watson
Valve.

8.      Please produce any and all documentation relative to the corporate organizational structure
of the manufacturer including any and all entities, parties or departments responsible for the
design, manufacturing and marketing of the gas sensors.

9.     Please produce all documents related to the design and construction of the gas sensors.

10.    Please produce all documents related to engineering changes made to the gas sensors.

11.    Please produce all documents related to the manufacturing process of the gas sensors.

12.     Please produce all documents related to supplying vendors for each and every component
of the gas sensors.

13.    Please produce all documents related to the inspection and testing of the gas sensors.

14.   Please produce all documents related to the certification and listing activities with
Underwriters Laboratories.

15.     Please produce all documents related to the certification and listing activities with any
other similar services.


                                                 13
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 57 of 93




16.     Please produce all documents related to the quality control of the manufacturing process
of the gas sensors.

17.    Please produce all documents related to the packaging of the gas sensors.

18.    Please produce all documents related to the shipping of the gas sensors.

19.    Please produce all documents related to warranty claims involving the gas sensors.


20.    Please produce all documents related to consumer complaints involving the gas sensors.

21.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Underwriters Laboratories.
22.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Underwriters Laboratories – Canada.

23.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the National Electrical Manufacturer’s Association.

24.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the Canadian Standards Association.

25.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Asociacion Nacional de Normalizacaion y Certificacion del Sector Electrico.

26.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the Norma Oficial Mexicana.

27.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and any other certification and/or listing entity.

28.     Please produce all documents related to any and all sales literature which feature or contain
the gas sensors.

29.    Please produce all documents related to any and all advertising materials which feature or
contain the gas sensors.

30.     Please produce all documents related to any and all catalog sheets which feature or contain
the gas sensors.

31.    Please produce all documents related to all brochures which feature or contain the gas
sensors.




                                                 14
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 58 of 93




32.     Please produce all documents related to any and all price sheets which feature or contain
the gas sensors.

33.    Please produce all documents related to any and all documentation of marketing efforts by
the manufacturer of the gas sensors.

34.   Please produce all documents related to any and all internet web sites maintained by the
manufacturer or any of its subsidiaries which contain information relative to the gas sensors.

35.   Please produce all documents related to any and all intranet sites maintained by the
manufacturer or any of its subsidiaries which contain information relative to the gas sensors.
36.    Please produce all documents related to each and every country, including division by
province and/or states, in which the gas sensors was marketed by the manufacturer.

37.     Please produce all documents related to each country, including division by province
and/or states, in which the gas sensors were offered for sale to the consumer.

38.   Please produce all documents related to any and all reasonably foreseeable uses by the
manufacturer of the gas sensors.

39.   Please produce all documents related to the reasonably foreseeable uses by the
manufacturer of the gas sensors.

40.   Please produce all documents related to any and all intended environments of use by the
manufacturer of the gas sensors.
41.    Please produce all documents related to any and all documentation relative to intended
environments of use by the manufacturer of the gas sensors.

42.    Please produce all documents related to any and all applications which the manufacturer
deems suitable for the gas sensors.

43.   Please produce all documents related to any and all applications which the manufacturer
deems unsuitable for the gas sensors.

44.    Please produce all documents related to any and all reasonably foreseeable misuses by
the manufacturer of the gas sensors.

45.    Please produce all documents related to any and all documentation relative to reasonably
foreseeable misuses by the manufacturer of the gas sensors.
46.    Please produce all documents related to any and all life expectancy limits of the gas
sensors.

47.    Please produce all documents related to any and all documentation relative to the life
expectancy limits of the gas sensors.


                                               15
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 59 of 93




48.   Please produce all documents related to any and all documentation relative to any testing
conducted to determine and/or establish the life expectancy limits of the gas sensors.

49.   Please produce all documents related to any and all electrical safety hazards known to the
manufacturer which are presented by the use of the gas sensors.

50.     Please produce all documents related to any and all documentation of any and all product
hazard analyses of the gas sensors which were conducted relative to fire or explosion safety
issues.

51.    Please produce all documents related to any and all documentation of any and all product
hazard an analysis of the gas sensors which were conducted relative to any other safety issue.

52.     Please produce all documents related to any and all documentation of any and all failure
mode and effect analyses of the gas sensors which were conducted relative to electrical safety
issues.


53.     Please produce all documents related to any and all documentation of any and all failure
mode and effect analyses of the gas sensors which were conducted relative to any other safety
issues.

54.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to operational parameters.
55.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to the electrical components incorporated into its design and construction.

56.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to the flammability of combustible components incorporated into its design and
construction.

57.     Please produce all documents related to any and all instructions intended for the end user
of the gas sensors.

58.    Please produce all documents related to any and all revisions to any and all instructions
intended for the end user of the gas sensors.

59.     Please produce all documents related to any and all warnings intended for the end user of
the gas sensors.

60.   Please produce all documents related to any and all revisions to provide any and all
warnings intended for the end user of the gas sensors.




                                                16
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 60 of 93




61.    Please produce all documents related to any and all labels attached to or supplied with the
gas sensors.

62.    Please produce all documents related to any and all revisions to any and all labels
attached to or supplied with the gas sensors.

63.    Please produce all documents related to any and all imprints and/or embossing that were
placed on the gas sensors during the manufacturing process.

64.    Please produce all documents related to any and all revisions to any and all imprints
and/or embossing that were placed on the gas sensors during the manufacturing process.

65.    Please produce all documents related to any and all manufacturer’s specifications for the
design and construction of the gas sensors.
66.    Please produce all documents related to any and all engineering change orders for the
design and construction of the gas sensors.

67.    Please produce all documents related to any and all manufacturer’s specifications for the
design and construction of any component part of the gas sensors.

68.    Please produce all documents related to all of the gas sensors’ nomenclature.

69.    Please produce all documents related to the AWG gauge of any and all wiring in the gas
sensors.

70. Please produce all documents related to the strand count of any individual stranded conductors
in the gas sensors.

71. Please produce all documents related to the diameter of any individual stranded conductors in
the gas sensors.

72. Please produce all documents related to the composition of any and all wiring in the gas
sensors.


73. Please produce all documents related to any and all physical drawings of the design and
construction of the gas sensors.
74. Please produce all documents related to any and all revisions to any and all physical drawings
of the design and construction of the gas sensors.

75. Please produce all documents related to any and all engineering change orders for the design
and construction of the gas sensors.
76. Please produce all documents related to any and all revisions to any and all electronic based
drawings of the design and construction of the gas sensors.

                                                17
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 61 of 93




77. Please produce all documents related to any and all codes and standards promulgated by any
entity that are applicable to the design, manufacturing and marketing of the gas sensors.

78. Please produce all documents related to any and all industry codes and standards promulgated
by any entity that are applicable to the design, manufacturing and marketing of the gas sensors.

79. Please produce all documents related to any and all standards of good care and good practice
promulgated by any entity that are applicable to the design. manufacturing and marketing of the
gas sensors.

80. Please produce all documents related to any and all standards promulgated by the National
Electrical Manufacturer’s Association that are applicable to the design, manufacturing and
marketing of the gas sensors.

81. Please produce all documents related to any and all standards promulgated by Underwriter’s
Laboratories (UL) that are applicable to the design, manufacturing and marketing of the gas
sensors.

82. Please produce all documents related to any and all standards promulgated by Underwriter’s
Laboratories – Canada (ULC) that are applicable to the design, manufacturing and marketing of
the gas sensors.

83. I Please produce all documents related to any and all standards promulgated by the Canadian
Standards Association (CSA) that are applicable to the design, manufacturing and marketing of
the gas sensors.

84. Please produce all documents related to any and all standards promulgated by the American
National Standards Institute (ANSI) that are applicable to the design, manufacturing and marketing
of the gas sensors.

85. Please produce all documents related to any and all standards promulgated by the American
Society for Testing and Materials (ASTM) that are applicable to the design, manufacturing and
marketing of the gas sensors.

86. Please produce all documents related to any and all standards promulgated by the American
Gas Association (AGA) that are applicable to the design, manufacturing and marketing of the gas
sensors.

87. Please produce all documents related to any and all standards promulgated by the Asociacion
Nacional de Normalizacaion y Certificacion del Sector Electrico (ANCE) that are applicable to the
design, manufacturing and marketing of the gas sensors.

88.     Please produce all documents related to any and all standards promulgated by Norma
Oficial Mexicana (NOM) that are applicable to the design, manufacturing and marketing of the
gas sensors.

                                               18
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 62 of 93




89.   Please produce all documents related to any and all standards promulgated by the
manufacturer that are applicable to the design, manufacturing and marketing of the gas sensors.

90.     Please produce all documents related to any and all suppliers of any and all component
parts of the gas sensors.
91.     Please produce all documents related to any and all changes of suppliers of any and all
component parts of the gas sensors for the three (3) years preceding and three (3) years following
the date of manufacture.

92.     Please produce all documents related to any and all vendors, distributors and/or wholesalers
of the gas sensors.


93. Please produce all documents related to any and all applications for patents for the design
and construction of the gas sensors.
94. Please produce all documents related to any and all patents issued for the design and
construction of the gas sensors.

95. Please produce all documents related to any and all applications for patents for the design
and construction of any component part of the gas sensors.

96. Please produce all documents related to any and all patents issued for the design and
construction of any component part of the gas sensors.

97. Please produce all documents related to any and all applications for trademarks associated
with the gas sensors.

98. Please produce all documents related to any and all issued trademarks associated with the
gas sensors.

99. Please produce all documents related to any and all applications for Underwriter’s
Laboratories listings/mark usage for the design, manufacturing and marketing of the gas sensors.
100. Please produce all documents related to any and all applications for Underwriter’s
Laboratories listings/mark usage for any component part of the gas sensors.

101. Please produce all documents related to any and all issued Underwriter’s Laboratories
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

102. Please produce all documents related to any and all issued Underwriter’s Laboratories
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

103. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,

                                                19
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 63 of 93




surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Underwriter’s Laboratories listing/mark usage.

104. Please produce all documents related to any and all applications for Underwriter’s
Laboratories – Canada listings/mark usage for the design, manufacturing and marketing of the gas
sensors.

105. Please produce all documents related to any and all applications for Underwriter’s
Laboratories – Canada listings/mark usage for any component part of the gas sensors.

106. Please produce all documents related to any and all issued Underwriter’s Laboratories -
Canada listings/mark usage for the design, manufacturing and marketing of the gas sensors.

107. Please produce all documents related to any and all issued Underwriter’s Laboratories -
Canada listings/mark usage for the design, manufacturing and marketing of the gas sensors.

108. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Underwriter’s Laboratories – Canada listing/mark usage.

109. Please produce all documents related to any and all applications for National Electrical
Manufacturer’s Association listings/mark usage for the design, manufacturing and marketing of
the gas sensors.

110. Please produce all documents related to any and all applications for National Electrical
Manufacturer’s Association listings/mark usage for any component part of the gas sensors.

111. Please produce all documents related to any and all issued National Electrical Manufacturer’s
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

112. Please produce all documents related to any and all issued National Electrical Manufacturer’s
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

113. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
National Electrical Manufacturer’s Association listing/mark usage.

114. Please produce all documents related to any and all applications for Canadian Standards
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

115. Please produce all documents related to any and all applications for Canadian Standards
Association listings/mark usage for any component part of the gas sensors.


                                                 20
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 64 of 93




116. Please produce all documents related to any and all issued Canadian Standards Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

117. Please produce all documents related to any and all issued Canadian Standards Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

118. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Canadian Standards listing/mark usage.

119. Please produce all documents related to any and all applications for Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for the design,
manufacturing and marketing of the gas sensors.

120. Please produce all documents related to any and all applications for Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for any component part
of the gas sensors.

121. Please produce all documents related to any and all issued Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for the design,
manufacturing and marketing of the gas sensors.

122. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Asociacion Nacional de Normalizacaion y Certificacion del Sector Electrico listing/mark usage.

123. Please produce all documents related to any and all applications for Norma Oficial
Mexicana listings/mark usage for the design, manufacturing and marketing of the gas sensors.

124. Please produce all documents related to any and all applications for Norma Oficial
Mexicana listings/mark usage for any component part of the gas sensors.

125. Please produce all documents related to any and all issued Norma Oficial Mexicana
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

126. Please produce all documents related to any and all issued Norma Oficial Mexicana
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

127. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,


                                                 21
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 65 of 93




surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Norma Oficial Mexicana listing/mark usage.

128. Please produce all documents related to any and all applications for American Gas
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

129. Please produce all documents related to any and all applications for American Gas
Association listings/mark usage for any component part of the gas sensors.

130. Please produce all documents related to any and all issued American Gas Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

131. Please produce all documents related to any and all issued American Gas Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

132. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
American Gas Association listing/mark usage.

133. Please produce all documents related to any and all applications for listings and/or
certifications by any other entity for the design, manufacturing and marketing of the gas sensors.
134. Please produce all documents related to any and all issued listing and/or certifications by
any other entity for the design, manufacturing and marketing of the gas sensors.

135. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
other listing and/or certification.

136. Please produce all documents related to any and all documentation that the manufacturer
has applied for, obtained and/or maintains registration to any recognized quality management
system standard such as ISO9001:2000.
137. Please produce all documents related to any and all nonconformity reports, reject reports,
material review board records, trend charts, customer feedback reports and any nonconformance
documentation relating to the manufacture of the gas sensors.

138. Please produce all documents related to any and all meeting minutes, emails, teleconference
reports and any and all documentation relative to any and all anomalous events during the
manufacture, inspection and testing of the gas sensors.

139. Please produce all documents related to any and all technical service bulletins for the gas
sensors.

                                                 22
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 66 of 93




140. Please produce all documents related to any and all safety advisories relative to the gas
sensors.

141. Please produce all documents related any inquiries and/or investigations by any regulatory
entity or agency relative to the gas sensors.

142. Please produce all documents related to any voluntary and/or involuntary recalls relative to
the gas sensors.

143. Please produce all documents related to any other similar incidents involving the gas
sensors.

144. Please produce all documents related to any previous civil litigations involving the gas
sensors.

145. Please produce all documents related to previous consumer complaints involving the gas
sensors.

146. Please produce all documents related to any and all production drawings and work aides for
the gas sensors.
147. Please produce all documents related to any and all standard operating procedures for the
manufacturing of the gas sensors.

148. Please produce all documents related to any and all process control documents for the gas
sensors.

149. Please produce all documents related to any and all assembly specifications and tolerances
for the gas sensors.

150. Please produce all documents related to any and all assembly line and/or work line
instructions for the gas sensors.

151. Please produce all documents related to any and all in-process inspections steps for the gas
sensors.

152. Please produce all documents related to any and all lot and batch controls for the gas sensors.

153. Please produce all documents related to any and all operator training records for the
manufacture of the gas sensors.

154. Please produce all documents related to any and all production tooling for the manufacture
of the gas sensors.

155. Please produce all documents related to any and all inspection procedures for the
manufacture of the gas sensors.

                                                23
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 67 of 93




156. Please produce all documents related to any and all sampling procedures for the manufacture
of the gas sensors.

157. Please produce all documents related to any and all inspection and test reports for the
manufacture of the gas sensors.

158. Please produce all documents related to any and all nonconforming materials reports for the
manufacture of the gas sensors.

159. Please produce all documents related to any and all records for disposal of, recycling of
and/or re-manufacturing of the gas sensors found to be non-conforming during the manufacturing
process.

160. Please produce all documents related to all tooling and set-up specifications for the
manufacturing of the gas sensors.

161. Please produce all documents related to any and all physical locations where the gas sensors
and/or any component part are or where manufactured.
162. Please produce all documents related to any and all physical locations where the gas sensors
and/or any component part are or where assembled.

163. Please produce all documents related to specifications for the packaging of the gas sensors.

164.     Please produce all documents related to specifications for the shipping of the gas sensors.

165.    Please produce all documents related to any and all common carrier damage reports for
any shipment involving the gas sensors.

166.   Please produce all documents related to any and all implied warranties by the
manufacturer for the gas sensors.

167.   Please produce all documents related to any and all expressed warranties by the
manufacturer for the gas sensors.

168.     Please produce all documents related to any and all implied warranties by any suppliers
for any and all component parts of the gas sensors.

169.     Please produce all documents related to any and all expressed warranties by any suppliers
for any and all component parts of the gas sensors.

170. Please produce all documents related to any and all warranty claims made relative to the
gas sensors.
171. Please produce all documents related to the disposition of any and all warranty claims made
relative to the gas sensors.

                                                24
10477424v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 68 of 93




172. Please produce all documents related to the manufacturer’s other comparable products
which could be utilized in the same or substantially similar applications.
173. Please produce all documents related to any and all written, digital or computer-based
documentation and/or data in the possession of the manufacturer which references the gas sensors
or any and all component parts incorporated into its design and construction.

174. Please produce all documents related to field notes, correspondence/communications,
invoices, photos and/or videos associated with the maintenance, repair, alteration and/or testing of
the gas sensors.

175.   Please produce all documents related to Watson Grinding.

176.   Please produce all documents related to Watson Valve.

177.   Please produce all documents related to Western International Gas & Cylinders, Inc.

178.   Please produce all documents related to Matheson Tri-Gas, Inc.

179.   Please produce all documents related to propylene.




                                                25
10477424v1
              Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 69 of 93



                                           UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION


In Re:                                                                        §
                                                                              §     Case No.: 20-30967
WATSON GRINDING &                                                             §
MANUFACTURING CO.                                                             §     CHAPTER 11
                                                                              §
           Debtor.                                                            §

       SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
 OR TO PERMIT INSPECTION OF PREMISES IN BANKRUPTCY CASE(OR ADVERSARY
                              PROCEEDING)

To:       3M Company, by and through its Registered Agent, Corporation Service Company d/b/a
          CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, TX
           78701-3136.


                                                 (Name ofperson to whom this subpoena is directed)

           ID Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the material;
Documents in Exhibit “1” attached.


 Place:                                                                           Date and Time:
         Aaron J. Power, Porter Hedges LLP
         1000 Main St., 36lh FI., Houston, TX 77002                               March 27, 2020 at 5:00 p.m.

         □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or other
property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party may inspect,
measure, survey, photogi'aph, test, or sample the property or any designated object or operation on it.

 Place:                                                                           Date and Time:




            The following provisions of Fed. R. Civ. P. 45, made applicable in bankriiplcy eases by Fed. R. Bankr. P. 9016. are altachcd - Rule 45(c), relating
to the place of compliance; Rule 45(d>, relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond
to this subpoena and the potential consequences of not doing so.

Date:         March 6. 2020

                              CLERK OF COURT

                                                                                            OR
                                       Signature ofClerk or Deputy Clerk                                          ^Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing the Official Committee of the January
24 Claimants who issues or requests this subpoena, h: Aaron J. Power, Porter Hedges LLP, 1000 Main St. 36''' FL, Houston,
Texas 77002, apowerCtvporterhedges.coni, 713-226-6000.
                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed.R.Civ.P. 45(a)(4).

                                                              EXHIBIT D
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 70 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)




                                             PROOF OF SERVICE
             (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I    received  this   subpoena for                                              (name         of        individual         and         title,     if     any)
______________________________________
on (date) _____________________.

            ☐I  served the subpoena by delivering a copy to the named person as follows:
            ______________________
            ______________________________________________________________________________
            ______ ____________________________ on (date) ________________________; or

            ☐I         returned       the        subpoena        unexecuted        because:
            ______________________________________________
            ______________________________________________________________________________
            .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I
            have also tendered to the witness the fees for one day’s attendance, and the mileage allowed by
            law, in the amount of $_______________________.

My fees are $______________ for travel and $______________                                                   for       services,          for       a     total    of
$____________.



            I declare under penalty of perjury that this information is true.

                                                                        Date: _________________
                                                                                     Server’s signature
                                                                                           ______________________________
                                                                                     Printed name and title
                                                                                           ______________________________
                                                                                     Server’s address



Additional information regarding attempted service, etc.:
                Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 71 of 93


B2570 (Form 2570- Subpoena to Produce Documents, Information, or Objects or to Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                      Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
                 (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)


(c) Place of Compliance.                                                                procedures apply to producing documents or electronically stored
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person                information:
to attend a trial, hearing, or deposition only as follows:                              (A) Documents. A person responding to a subpoena to produce documents
(A) within 100 miles of where the person resides, is employed, or regularly             must produce them as they are kept in the ordinary course of business or
transacts business in person; or                                                        must organize and label them to correspond to the categories in the demand.
(B) within the state where the person resides, is employed, or regularly                (B) Form for Producing Electronically Stored Information Not Specified. If
transacts business in person, if the person                                             a subpoena does not specify a form for producing electronically stored
(i) is a party of a party's officer; or                                                 information, the person responding must produce it in a form or forms in
(ii) is commanded to attend a trial and would not incur substantial expense.            which it is ordinarily maintained or in a reasonably usable form or forms.
(2) For Other Discovery. A subpoena may command:                                        (C) Electronically Stored Information Produced in Only One Form. The
(A) production of documents, electronically stored information, or tangible             person responding need not produce the same electronically stored
things at a place within 100 miles of where the person resides, is employed,            information in more than one form.
or regularly transacts business in person; and                                          (D) Inaccessible Electronically Stored Information. The person responding
(B) inspection of premises at the premises to be inspected.                             need not provide discovery of electronically stored information from sources
(d) Protecting a Person Subject to a Subpoena; Enforcement.                             that the person identifies as not reasonably accessible because of undue
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                    burden or cost. On motion to compel discovery or for a protective order, the
responsible for issuing and serving a subpoena must take reasonable steps to            person responding must show that the information is not reasonably
avoid imposing undue burden or expense on a person subject to the                       accessible because of undue burden or cost. If that showing is made, the court
subpoena. The court for the district where compliance is required must                  may nonetheless order discovery from such sources if the requesting party
enforce this duty and impose an appropriate sanction—which may include                  shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
lost earnings and reasonable attorney's fees—on a party or attorney who fails           may specify conditions for the discovery.
to comply.                                                                              (2) Claiming Privilege or Protection.
(2) Command to Produce Materials or Permit Inspection.                                  (A) Information Withheld. A person withholding subpoenaed information
(A) Appearance Not Required. A person commanded to produce documents,                   under a claim that it is privileged or subject to protection as trial-preparation
electronically stored information, or tangible things, or to permit the                 material must:
inspection of premises, need not appear in person at the place of production            (i) expressly make the claim; and
or inspection unless also commanded to appear for a deposition, hearing, or             (ii) describe the nature of the withheld documents, communications, or
trial.                                                                                  tangible things in a manner that, without revealing information itself
(B) Objections. A person commanded to produce documents or tangible                     privileged or protected, will enable the parties to assess the claim.
things or to permit inspection may serve on the party or attorney designated            (B) Information Produced. If information produced in response to a
in the subpoena a written objection to inspecting, copying, testing or                  subpoena is subject to a claim of privilege or of protection as trial-
sampling any or all of the materials or to inspecting the premises—or to                preparation material, the person making the claim may notify any party that
producing electronically stored information in the form or forms requested.             received the information of the claim and the basis for it. After being notified,
The objection must be served before the earlier of the time specified for               a party must promptly return, sequester, or destroy the specified information
compliance or 14 days after the subpoena is served. If an objection is made,            and any copies it has; must not use or disclose the information until the claim
the following rules apply:                                                              is resolved; must take reasonable steps to retrieve the information if the party
(i) At any time, on notice to the commanded person, the serving party may               disclosed it before being notified; and may promptly present the information
move the court for the district where compliance is required for an order               under seal to the court for the district where compliance is required for a
compelling production or inspection.                                                    determination of the claim. The person who produced the information must
(ii) These acts may be required only as directed in the order, and the order            preserve the information until the claim is resolved.
must protect a person who is neither a party nor a party's officer from                  (g) Contempt.
significant expense resulting from compliance.                                          The court for the district where compliance is required—and also, after a
(3) Quashing or Modifying a Subpoena.                                                   motion is transferred, the issuing court—may hold in contempt a person who,
(A) When Required. On timely motion, the court for the district where                   having been served, fails without adequate excuse to obey the subpoena or
compliance is required must quash or modify a subpoena that:                            an order related to it.
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in
Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden.
(B) When Permitted. To protect a person subject to or affected by a subpoena,
the court for the district where compliance is required may, on motion, quash
or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research, development, or
commercial information; or
(ii) disclosing an unretained expert's opinion or information that does not
describe specific occurrences in dispute and results from the expert's study
that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances described
in Rule 45(d)(3)(B), the court may, instead of quashing or modifying a
subpoena, order appearance or production under specified conditions if the
serving party:
(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.
(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 72 of 93




                  For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                          4
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 73 of 93




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In Re:                                          §
                                                §       Case No.: 20-30967
WATSON GRINDING &                               §
MANUFACTURING CO.                               §       CHAPTER 11
                                                §
               Debtor.                          §

                    REQUEST FOR PRODUCTION OF DOCUMENTS
                      PURSUANT TO BANKRUPTCY RULE 2004

To:      3M Company, by and through its Registered Agent, Corporation Service Company
         d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,
         Austin, TX 78701-3136.

         Pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy Procedure, the

Official Committee of January 24 Claimants (the “Committee”) files and serves this Request for

Production of Documents on 3M. 3M is instructed to produce for inspection and copying the

documents set forth in the attached as Exhibit 1 by no later than March 27, 2020, at 5:00 p.m. at

Porter Hedges LLP, Attn: Joshua W. Wolfshohl, 1000 Main Street, 36th Floor, Houston, Texas

77002-6341 (or at such other date and time as agreed to by the parties).




                                                5
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 74 of 93




       Dated: March 6, 2020.
                                            Respectfully submitted,

                                            PORTER HEDGES LLP

                                            /s/ Joshua W. Wolfshohl
                                            Joshua W. Wolfshohl
                                            Aaron J. Power
                                            1000 Main Street, 36th Floor
                                            Houston, Texas 77002
                                            (713) 226-6000
                                            (713) 226-6248 (fax)
                                            jwolfshohl@porterhedges.com
                                            apower@porterhedges.com

                                            PROPOSED COUNSEL FOR THE OFFICIAL
                                            COMMITTEE OF JANUARY 24 CLAIMANTS

                               CERTIFICATE OF SERVICE

       This is to certify that on March 6, 2020, a true and correct copy of the foregoing Request
for Production of Documents Pursuant to Bankruptcy Rule 2004 was served via United States
mail, postage prepaid or by electronic transmission to the below parties.

3M Company
c/o Registered Agent, Corporation Service Company
d/b/a CSC-Lawyers Incorporating Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701-3136.

                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




                                               6
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 75 of 93




                                           EXHIBIT 1

                            INSTRUCTIONS AND DEFINITIONS

       1.      These document requests apply to all documents in your possession, custody or

control regardless of their location, and regardless of whether such documents are held by your

representatives, agents, attorneys, advisors, accountants, family members, or any other person.

In searching for any documents responsive to these requests, you should also search all devices

or media capable of containing electronic or magnetic data including, without limitation, hard

drives of all computers used by any person with knowledge of the facts relevant to this dispute,

network servers, back-up and archival storage systems, home computers, laptop computers,

voice mail systems, floppy disks, removable data cartridges, and any cell phones.

       2.      If any copy of any document whose production is sought is not identical to any

other copy thereof, by reason of any alterations, different form (e.g., electronic form), metadata

or metatags, marginal notes, comments or other material contained thereon, attached thereto,

or otherwise, all such non-identical copies shall be produced separately. Such other copies

include, without limitation, all revisions in electronic or magnetic format.

       3.      All Documents. All documents produced must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

number (e.g., ABC000001). This format must remain consistent across all production numbers.

The number of digits in the numeric portion of the format should not change in subsequent

productions, nor should spaces, hyphens, or other separators be added or deleted. Any document

that contains essential color should be produced in color. “Essential color” is defined as color that

is essential to the understanding of the document, such as the color in charts, maps, graphs, and

photographs.



                                                 7
10477475v1
         Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 76 of 93




         4.    Hard Copy Documents. For documents that only exist in hard copy and not

electronic form, please produce those documents as Group IV compressed single-page TIFF or

JPEG images named by Bates number. Provide standard LFP and OPT image load files with an

image key containing the same image names/Bates numbers as the corresponding images. All

TIFF/JPEG images must be branded and named with a unique, consistently formatted identifier

with an alpha prefix along with a fixed length Bates number (e.g., ABC000001). The LFP and

OPT load files should accurately reflect logical document breaks. OCR should be provided as

document level text files with an LST load file or as a linked path in a delimited text file (a .DAT

file).

         5.    Fielded data for hard copy documents should be provided in a delimited text file

with the following delimiters:

    Field separator = | (ASCII character 124) or , (ASCII character 020)
    Quote character = þ (ASCII character 254)
    Multi-entry delimiter = ; (ASCII character 059)
    Return value in data = ~ (ASCII character 126)
The fielded data should include but not be limited to the following:

        Beg Doc
        End Doc
        Beg Attach
        End Attach
        Page Count
        Custodian
        Location
        Production Volume

         6.    Electronic Documents. Please produce email, attachments, and loose native files as

Group IV compressed single-page TIFF or JPEG images named by Bates number. Provide

standard LFP and OPT image load files with an image key containing the same image names/Bates

numbers as the corresponding images. All TIFF/JPEG images must be branded and named with a

unique, consistently formatted identifier with an alpha prefix along with a fixed length Bates

                                                 8
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 77 of 93




number (e.g., ABC0000001). Extracted text or OCR should be provided as document level text

files with an LST load file or as a linked path in a delimited text file (a .DAT file).

       7.      Additionally, Excel files, spreadsheets, database files, audio files, video files,

AutoCAD drawings, or any non-printable or unsupported file types should be produced in their

native format with a linked path in the .DAT file. A placeholder image with basic identifying

information (File Name and Bates number) should be provided. If counsel requests native files of

other specific documents, opposing counsel will comply as long as the request is not overly

burdensome or frivolous.

       8.      Metadata for the emails and attachments should be provided in a delimited text file

with the following delimiters:

      Field separator = | (ASCII character 124) or , (ASCII character 020)
      Quote character = þ (ASCII character 254)
      Multi-entry delimiter = ; (ASCII character 059)
      Return value in data = ~ (ASCII character 126)

       The metadata fields should include but not be limited to the following:

      Beg Doc
      End Doc
      Beg Attach
      End Attach
      Page Count
      Production Volume
      Media Type (i.e., Email, Attachment, Attached Email, Loose Edoc, Attached Edoc)
      Family Date (MM/DD/YYYY)
      Family Time (MM/DD/YYYY hh:mm:ss)
      Date Sent (MM/DD/YYYY)
      Time Sent (MM/DD/YYYY hh:mm:ss)
      Date Received (MM/DD/YYYY)
      Time Received (MM/DD/YYYY hh:mm:ss)
      Date Created (MM/DD/YYYY)
      Time Created (MM/DD/YYYY hh:mm:ss)
      Date Last Modified (MM/DD/YYYY)
      Time Last Modified (MM/DD/YYYY hh:mm:ss)
      Date Last Accessed (MM/DD/YYYY)

                                                  9
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 78 of 93




      Time Last Accessed (MM/DD/YYYY hh:mm:ss)
      Author
      From
      To
      CC
      BCC
      Subject
      MsgID
      MD5Hash
      SHA1Hash
      File Size
      File Extension
      File Type
      File Name
      Original Folder or Pathway
      Application
      Attachment Count
      Attachment Titles
      Doc Title
      File/Doc Type (if different from Media)
      Custodian
      Confidential Designation
      Native Path

       9.      In the event the volume of loose natives becomes excessively large and thereby

exceedingly costly to process, counsel will notify opposing counsel and the parties will consider

alternatives to a tiff/jpeg production.

       10.     Production Media. Please provide all production deliverables on external USB

drives or via FTP link.

       11.     The Requests for Production specifically request electronically stored

information and all meta-data associated with said electronically stored information.

       12.     In producing documents, all documents which are physically attached to each

other in your files shall be left so attached. Documents shall be produced in the order in which

they were maintained.




                                               10
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 79 of 93




       13.     For each document that you claim is privileged or otherwise not discoverable,

provide a privilege log.

       14.     If no responsive documents exist for a particular response, please so indicate by

stating “none.”

       15.    For each Request for Production, please identify which bates-labeled documents
are responsive.

                                         DEFINITIONS

       1.      The terms “all,” “each” and “any” shall be construed to mean all, each, every, and

any.

       2.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       3.      The term “Debtor” means Watson Grinding & Manufacturing Co.

       4.      The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of this term in Federal Rule of Civil Procedure 34(a), made applicable to this

proceeding by Rules 7034 and 9014 of the Federal Rules of Bankruptcy Procedure, including,

without limitation, electronic or computerized data compilations. A draft or non-identical copy is

a separate Document within the meaning of this term.

       5.      The term “including” means including but not limited to.

       6.      The terms “regarding”, “related to”, “relate to”, “relating to”, “referred to”, “refer

to”, and “referring to” mean having any relationship or connection to, concerning, being connected

to, commenting on, responding to, containing, constituting, showing, memorializing, describing,

analyzing, reflecting, pertaining to, compromising, identifying, discussing, evidencing, or

otherwise establishing a reasonable, logical, or causal connection.


                                                11
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 80 of 93




       7.     The term “You” or “Your” means 3M, its affiliates, subsidiaries, officers,

managers, employees, or agents, or any person or entity authorized to act on behalf of 3M.

       8.     “Watson Grinding” means the Debtor.

       9.     “Watson Valve” means Watson Valve Services, Inc.




                                               12
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 81 of 93




                            LIST OF REQUESTED DOCUMENTS

1.     Please produce all documents related to any and all calibration records of the gas sensors
at Watson Grinding & Manufacturing and/or Watson Valve.

2.    Please produce all documents related to any and all sensors present and calibrated on the
Watson Grinding & Manufacturing and/or Watson Valve.

3.     Please produce all documents related to any and all calibration records of all sensors that
show the as-found and as-left conditions of the sensors Watson Grinding & Manufacturing and/or
Watson Valve.

4.      Please produce all documents related to any and all applicable procedures and standards
used in the calibration process.

5.      Please produce all documents related to any and all the equipment and devices used in the
calibration of the gas sensors. Including any calibration or certification documents for this
equipment.

6.      Please produce all documents related to any and all the technicians that performed the
calibrations of the gas sensors.

7.      Please produce all documents related to any and all repairs or replacements performed in
the calibration or servicing of the gas sensors Watson Grinding & Manufacturing and/or Watson
Valve.

8.      Please produce any and all documentation relative to the corporate organizational structure
of the manufacturer including any and all entities, parties or departments responsible for the
design, manufacturing and marketing of the gas sensors.

9.     Please produce all documents related to the design and construction of the gas sensors.

10.    Please produce all documents related to engineering changes made to the gas sensors.

11.    Please produce all documents related to the manufacturing process of the gas sensors.

12.     Please produce all documents related to supplying vendors for each and every component
of the gas sensors.

13.    Please produce all documents related to the inspection and testing of the gas sensors.

14.   Please produce all documents related to the certification and listing activities with
Underwriters Laboratories.

15.     Please produce all documents related to the certification and listing activities with any
other similar services.


                                                 13
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 82 of 93




16.     Please produce all documents related to the quality control of the manufacturing process
of the gas sensors.

17.    Please produce all documents related to the packaging of the gas sensors.

18.    Please produce all documents related to the shipping of the gas sensors.

19.    Please produce all documents related to warranty claims involving the gas sensors.


20.    Please produce all documents related to consumer complaints involving the gas sensors.

21.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Underwriters Laboratories.
22.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Underwriters Laboratories – Canada.

23.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the National Electrical Manufacturer’s Association.

24.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the Canadian Standards Association.

25.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and Asociacion Nacional de Normalizacaion y Certificacion del Sector Electrico.

26.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and the Norma Oficial Mexicana.

27.    Please produce all documents related to the liaison between the manufacturer of the gas
sensors and any other certification and/or listing entity.

28.     Please produce all documents related to any and all sales literature which feature or contain
the gas sensors.

29.    Please produce all documents related to any and all advertising materials which feature or
contain the gas sensors.

30.     Please produce all documents related to any and all catalog sheets which feature or contain
the gas sensors.

31.    Please produce all documents related to all brochures which feature or contain the gas
sensors.




                                                 14
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 83 of 93




32.     Please produce all documents related to any and all price sheets which feature or contain
the gas sensors.

33.    Please produce all documents related to any and all documentation of marketing efforts by
the manufacturer of the gas sensors.

34.   Please produce all documents related to any and all internet web sites maintained by the
manufacturer or any of its subsidiaries which contain information relative to the gas sensors.

35.   Please produce all documents related to any and all intranet sites maintained by the
manufacturer or any of its subsidiaries which contain information relative to the gas sensors.
36.    Please produce all documents related to each and every country, including division by
province and/or states, in which the gas sensors was marketed by the manufacturer.

37.     Please produce all documents related to each country, including division by province
and/or states, in which the gas sensors were offered for sale to the consumer.

38.   Please produce all documents related to any and all reasonably foreseeable uses by the
manufacturer of the gas sensors.

39.   Please produce all documents related to the reasonably foreseeable uses by the
manufacturer of the gas sensors.

40.   Please produce all documents related to any and all intended environments of use by the
manufacturer of the gas sensors.
41.    Please produce all documents related to any and all documentation relative to intended
environments of use by the manufacturer of the gas sensors.

42.    Please produce all documents related to any and all applications which the manufacturer
deems suitable for the gas sensors.

43.   Please produce all documents related to any and all applications which the manufacturer
deems unsuitable for the gas sensors.

44.    Please produce all documents related to any and all reasonably foreseeable misuses by
the manufacturer of the gas sensors.

45.    Please produce all documents related to any and all documentation relative to reasonably
foreseeable misuses by the manufacturer of the gas sensors.
46.    Please produce all documents related to any and all life expectancy limits of the gas
sensors.

47.    Please produce all documents related to any and all documentation relative to the life
expectancy limits of the gas sensors.


                                               15
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 84 of 93




48.   Please produce all documents related to any and all documentation relative to any testing
conducted to determine and/or establish the life expectancy limits of the gas sensors.

49.   Please produce all documents related to any and all electrical safety hazards known to the
manufacturer which are presented by the use of the gas sensors.

50.     Please produce all documents related to any and all documentation of any and all product
hazard analyses of the gas sensors which were conducted relative to fire or explosion safety
issues.

51.    Please produce all documents related to any and all documentation of any and all product
hazard an analysis of the gas sensors which were conducted relative to any other safety issue.

52.     Please produce all documents related to any and all documentation of any and all failure
mode and effect analyses of the gas sensors which were conducted relative to electrical safety
issues.


53.     Please produce all documents related to any and all documentation of any and all failure
mode and effect analyses of the gas sensors which were conducted relative to any other safety
issues.

54.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to operational parameters.
55.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to the electrical components incorporated into its design and construction.

56.    Please produce all documents related to any and all testing and/or analysis of the gas
sensors relative to the flammability of combustible components incorporated into its design and
construction.

57.     Please produce all documents related to any and all instructions intended for the end user
of the gas sensors.

58.    Please produce all documents related to any and all revisions to any and all instructions
intended for the end user of the gas sensors.

59.     Please produce all documents related to any and all warnings intended for the end user of
the gas sensors.

60.   Please produce all documents related to any and all revisions to provide any and all
warnings intended for the end user of the gas sensors.




                                                16
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 85 of 93




61.    Please produce all documents related to any and all labels attached to or supplied with the
gas sensors.

62.    Please produce all documents related to any and all revisions to any and all labels
attached to or supplied with the gas sensors.

63.    Please produce all documents related to any and all imprints and/or embossing that were
placed on the gas sensors during the manufacturing process.

64.    Please produce all documents related to any and all revisions to any and all imprints
and/or embossing that were placed on the gas sensors during the manufacturing process.

65.    Please produce all documents related to any and all manufacturer’s specifications for the
design and construction of the gas sensors.
66.    Please produce all documents related to any and all engineering change orders for the
design and construction of the gas sensors.

67.    Please produce all documents related to any and all manufacturer’s specifications for the
design and construction of any component part of the gas sensors.

68.    Please produce all documents related to all of the gas sensors’ nomenclature.

69.    Please produce all documents related to the AWG gauge of any and all wiring in the gas
sensors.

70. Please produce all documents related to the strand count of any individual stranded conductors
in the gas sensors.

71. Please produce all documents related to the diameter of any individual stranded conductors in
the gas sensors.

72. Please produce all documents related to the composition of any and all wiring in the gas
sensors.


73. Please produce all documents related to any and all physical drawings of the design and
construction of the gas sensors.
74. Please produce all documents related to any and all revisions to any and all physical drawings
of the design and construction of the gas sensors.

75. Please produce all documents related to any and all engineering change orders for the design
and construction of the gas sensors.
76. Please produce all documents related to any and all revisions to any and all electronic based
drawings of the design and construction of the gas sensors.

                                                17
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 86 of 93




77. Please produce all documents related to any and all codes and standards promulgated by any
entity that are applicable to the design, manufacturing and marketing of the gas sensors.

78. Please produce all documents related to any and all industry codes and standards promulgated
by any entity that are applicable to the design, manufacturing and marketing of the gas sensors.

79. Please produce all documents related to any and all standards of good care and good practice
promulgated by any entity that are applicable to the design. manufacturing and marketing of the
gas sensors.

80. Please produce all documents related to any and all standards promulgated by the National
Electrical Manufacturer’s Association that are applicable to the design, manufacturing and
marketing of the gas sensors.

81. Please produce all documents related to any and all standards promulgated by Underwriter’s
Laboratories (UL) that are applicable to the design, manufacturing and marketing of the gas
sensors.

82. Please produce all documents related to any and all standards promulgated by Underwriter’s
Laboratories – Canada (ULC) that are applicable to the design, manufacturing and marketing of
the gas sensors.

83. I Please produce all documents related to any and all standards promulgated by the Canadian
Standards Association (CSA) that are applicable to the design, manufacturing and marketing of
the gas sensors.

84. Please produce all documents related to any and all standards promulgated by the American
National Standards Institute (ANSI) that are applicable to the design, manufacturing and marketing
of the gas sensors.

85. Please produce all documents related to any and all standards promulgated by the American
Society for Testing and Materials (ASTM) that are applicable to the design, manufacturing and
marketing of the gas sensors.

86. Please produce all documents related to any and all standards promulgated by the American
Gas Association (AGA) that are applicable to the design, manufacturing and marketing of the gas
sensors.

87. Please produce all documents related to any and all standards promulgated by the Asociacion
Nacional de Normalizacaion y Certificacion del Sector Electrico (ANCE) that are applicable to the
design, manufacturing and marketing of the gas sensors.

88.     Please produce all documents related to any and all standards promulgated by Norma
Oficial Mexicana (NOM) that are applicable to the design, manufacturing and marketing of the
gas sensors.

                                               18
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 87 of 93




89.   Please produce all documents related to any and all standards promulgated by the
manufacturer that are applicable to the design, manufacturing and marketing of the gas sensors.

90.     Please produce all documents related to any and all suppliers of any and all component
parts of the gas sensors.
91.     Please produce all documents related to any and all changes of suppliers of any and all
component parts of the gas sensors for the three (3) years preceding and three (3) years following
the date of manufacture.

92.     Please produce all documents related to any and all vendors, distributors and/or wholesalers
of the gas sensors.


93. Please produce all documents related to any and all applications for patents for the design
and construction of the gas sensors.
94. Please produce all documents related to any and all patents issued for the design and
construction of the gas sensors.

95. Please produce all documents related to any and all applications for patents for the design
and construction of any component part of the gas sensors.

96. Please produce all documents related to any and all patents issued for the design and
construction of any component part of the gas sensors.

97. Please produce all documents related to any and all applications for trademarks associated
with the gas sensors.

98. Please produce all documents related to any and all issued trademarks associated with the
gas sensors.

99. Please produce all documents related to any and all applications for Underwriter’s
Laboratories listings/mark usage for the design, manufacturing and marketing of the gas sensors.
100. Please produce all documents related to any and all applications for Underwriter’s
Laboratories listings/mark usage for any component part of the gas sensors.

101. Please produce all documents related to any and all issued Underwriter’s Laboratories
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

102. Please produce all documents related to any and all issued Underwriter’s Laboratories
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

103. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,

                                                19
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 88 of 93




surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Underwriter’s Laboratories listing/mark usage.

104. Please produce all documents related to any and all applications for Underwriter’s
Laboratories – Canada listings/mark usage for the design, manufacturing and marketing of the gas
sensors.

105. Please produce all documents related to any and all applications for Underwriter’s
Laboratories – Canada listings/mark usage for any component part of the gas sensors.

106. Please produce all documents related to any and all issued Underwriter’s Laboratories -
Canada listings/mark usage for the design, manufacturing and marketing of the gas sensors.

107. Please produce all documents related to any and all issued Underwriter’s Laboratories -
Canada listings/mark usage for the design, manufacturing and marketing of the gas sensors.

108. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Underwriter’s Laboratories – Canada listing/mark usage.

109. Please produce all documents related to any and all applications for National Electrical
Manufacturer’s Association listings/mark usage for the design, manufacturing and marketing of
the gas sensors.

110. Please produce all documents related to any and all applications for National Electrical
Manufacturer’s Association listings/mark usage for any component part of the gas sensors.

111. Please produce all documents related to any and all issued National Electrical Manufacturer’s
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

112. Please produce all documents related to any and all issued National Electrical Manufacturer’s
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

113. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
National Electrical Manufacturer’s Association listing/mark usage.

114. Please produce all documents related to any and all applications for Canadian Standards
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

115. Please produce all documents related to any and all applications for Canadian Standards
Association listings/mark usage for any component part of the gas sensors.


                                                 20
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 89 of 93




116. Please produce all documents related to any and all issued Canadian Standards Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

117. Please produce all documents related to any and all issued Canadian Standards Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

118. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Canadian Standards listing/mark usage.

119. Please produce all documents related to any and all applications for Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for the design,
manufacturing and marketing of the gas sensors.

120. Please produce all documents related to any and all applications for Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for any component part
of the gas sensors.

121. Please produce all documents related to any and all issued Asociacion Nacional de
Normalizacaion y Certificacion del Sector Electrico listings/mark usage for the design,
manufacturing and marketing of the gas sensors.

122. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Asociacion Nacional de Normalizacaion y Certificacion del Sector Electrico listing/mark usage.

123. Please produce all documents related to any and all applications for Norma Oficial
Mexicana listings/mark usage for the design, manufacturing and marketing of the gas sensors.

124. Please produce all documents related to any and all applications for Norma Oficial
Mexicana listings/mark usage for any component part of the gas sensors.

125. Please produce all documents related to any and all issued Norma Oficial Mexicana
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

126. Please produce all documents related to any and all issued Norma Oficial Mexicana
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

127. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,


                                                 21
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 90 of 93




surveillance, inspection, auditing, certification, registration and accreditation relative to any such
Norma Oficial Mexicana listing/mark usage.

128. Please produce all documents related to any and all applications for American Gas
Association listings/mark usage for the design, manufacturing and marketing of the gas sensors.

129. Please produce all documents related to any and all applications for American Gas
Association listings/mark usage for any component part of the gas sensors.

130. Please produce all documents related to any and all issued American Gas Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

131. Please produce all documents related to any and all issued American Gas Association
listings/mark usage for the design, manufacturing and marketing of the gas sensors.

132. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
American Gas Association listing/mark usage.

133. Please produce all documents related to any and all applications for listings and/or
certifications by any other entity for the design, manufacturing and marketing of the gas sensors.
134. Please produce all documents related to any and all issued listing and/or certifications by
any other entity for the design, manufacturing and marketing of the gas sensors.

135. Please produce all documents related to any and all documents, correspondence, process
records, checklists, test reports, manufacturing procedures, work instructions, inspection
procedures, lot and batch records, quality manuals and quality procedures related to testing,
surveillance, inspection, auditing, certification, registration and accreditation relative to any such
other listing and/or certification.

136. Please produce all documents related to any and all documentation that the manufacturer
has applied for, obtained and/or maintains registration to any recognized quality management
system standard such as ISO9001:2000.
137. Please produce all documents related to any and all nonconformity reports, reject reports,
material review board records, trend charts, customer feedback reports and any nonconformance
documentation relating to the manufacture of the gas sensors.

138. Please produce all documents related to any and all meeting minutes, emails, teleconference
reports and any and all documentation relative to any and all anomalous events during the
manufacture, inspection and testing of the gas sensors.

139. Please produce all documents related to any and all technical service bulletins for the gas
sensors.

                                                 22
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 91 of 93




140. Please produce all documents related to any and all safety advisories relative to the gas
sensors.

141. Please produce all documents related any inquiries and/or investigations by any regulatory
entity or agency relative to the gas sensors.

142. Please produce all documents related to any voluntary and/or involuntary recalls relative to
the gas sensors.

143. Please produce all documents related to any other similar incidents involving the gas
sensors.

144. Please produce all documents related to any previous civil litigations involving the gas
sensors.

145. Please produce all documents related to previous consumer complaints involving the gas
sensors.

146. Please produce all documents related to any and all production drawings and work aides for
the gas sensors.
147. Please produce all documents related to any and all standard operating procedures for the
manufacturing of the gas sensors.

148. Please produce all documents related to any and all process control documents for the gas
sensors.

149. Please produce all documents related to any and all assembly specifications and tolerances
for the gas sensors.

150. Please produce all documents related to any and all assembly line and/or work line
instructions for the gas sensors.

151. Please produce all documents related to any and all in-process inspections steps for the gas
sensors.

152. Please produce all documents related to any and all lot and batch controls for the gas sensors.

153. Please produce all documents related to any and all operator training records for the
manufacture of the gas sensors.

154. Please produce all documents related to any and all production tooling for the manufacture
of the gas sensors.

155. Please produce all documents related to any and all inspection procedures for the
manufacture of the gas sensors.

                                                23
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 92 of 93




156. Please produce all documents related to any and all sampling procedures for the manufacture
of the gas sensors.

157. Please produce all documents related to any and all inspection and test reports for the
manufacture of the gas sensors.

158. Please produce all documents related to any and all nonconforming materials reports for the
manufacture of the gas sensors.

159. Please produce all documents related to any and all records for disposal of, recycling of
and/or re-manufacturing of the gas sensors found to be non-conforming during the manufacturing
process.

160. Please produce all documents related to all tooling and set-up specifications for the
manufacturing of the gas sensors.

161. Please produce all documents related to any and all physical locations where the gas sensors
and/or any component part are or where manufactured.
162. Please produce all documents related to any and all physical locations where the gas sensors
and/or any component part are or where assembled.

163. Please produce all documents related to specifications for the packaging of the gas sensors.

164.     Please produce all documents related to specifications for the shipping of the gas sensors.

165.    Please produce all documents related to any and all common carrier damage reports for
any shipment involving the gas sensors.

166.   Please produce all documents related to any and all implied warranties by the
manufacturer for the gas sensors.

167.   Please produce all documents related to any and all expressed warranties by the
manufacturer for the gas sensors.

168.     Please produce all documents related to any and all implied warranties by any suppliers
for any and all component parts of the gas sensors.

169.     Please produce all documents related to any and all expressed warranties by any suppliers
for any and all component parts of the gas sensors.

170. Please produce all documents related to any and all warranty claims made relative to the
gas sensors.
171. Please produce all documents related to the disposition of any and all warranty claims made
relative to the gas sensors.

                                                24
10477475v1
       Case 20-30967 Document 112 Filed in TXSB on 03/06/20 Page 93 of 93




172. Please produce all documents related to the manufacturer’s other comparable products
which could be utilized in the same or substantially similar applications.
173. Please produce all documents related to any and all written, digital or computer-based
documentation and/or data in the possession of the manufacturer which references the gas sensors
or any and all component parts incorporated into its design and construction.

174. Please produce all documents related to field notes, correspondence/communications,
invoices, photos and/or videos associated with the maintenance, repair, alteration and/or testing of
the gas sensors.

175.   Please produce all documents related to Watson Grinding & Manufacturing.

176.   Please produce all documents related to Watson Valve Services Inc.

177.   Please produce all documents related to Western International Gas & Cylinders, Inc.

178.   Please produce all documents related to Matheson Tri-Gas, Inc.

179.   Please produce all documents related to propylene.




                                                25
10477475v1
